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7DEOHRI&RQWHQWVIRU([KLELWV

7UDQVFULSWRI'HIHQGDQW
V([KLELW('LVFLSOLQDU\+HDULQJ3ODLQWLII
V$

$IILGDYLWRI/\OH9DQ1DKPHQ

9DQ1DKPHQ'HSRVLWLRQSS

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(&)'RFXPHQW)LQDO'LVSRVLWLRQ/HWWHU

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               7UDQVFULSWRI'HIHQGDQW
V([KLELW('LVFLSOLQDU\+HDULQJ


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2ND\,ZDQWWRZHOFRPHHYHU\ERG\WKDQN\RXIRUEHLQJKHUH7KLVLVDIRUPDOFRQGXFWUHYLHZ
KHDULQJIRU/\OH9DQ1DKPHQ,W
V7XHVGD\$SULOWK7KHKHDULQJZDVVFKHGXOHGWREHJLQ
DWSPDQGZH
UHVWDUWLQJDWSP,ZDQWWRWKDQNDOORI\RXIRUDUULYLQJRQWLPHRUDOLWWOH
HDUO\DQG,ZDQWWRQRWHIRUWKHUHFRUGWKDW0U9DQ1DKPHQZDVGHOD\HG

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XQWLOMXVWQRZDWSPWKDW
VZK\ZH
UHVWDUWLQJDOLWWOHELWODWH

)LUVWWKLQJ,ZRXOGOLNHWRGRLVDVNLI\RXZRXOG/\OHLI\RXZRXOGWXUQWRSDJHRQWKDWFRGHRI
FRQGXFWRQSDJHWKDW
VZKHUHLWVWDUWVDQGLI\RXZRXOGWXUQILUVWRIDOOWRSDJHRQSDJH
ULJKWGRZQDWWKHERWWRPRIWKHILUVW

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SDUDILUVWFROXPQLWVD\VFROOHJH
VULJKWVDWWKHERWWRPRIWKHILUVWFROXPQDQGLWVD\VUHFRUG
VHFRQGSDUDJUDSKWKHFROOHJHUHVHUYHVWKHULJKWWRUHFRUGWKHKHDULQJDQGNHHSUHFRUGVRQILOHVR
ZKDW,ZDQWHGWRQRWLI\\RXRILVWKDW%HWW\$QQ6RXWKKDVVWDUWHGDUHFRUGLQJRQDQL3DGDQGDOVR
ZH KDYH D EDFNXS UHFRUGHU KHUH DQG WKHQ , DOVR EHOLHYH WKHUH LV DQRWKHU UHFRUGLQJ  +DYH \RX
DFWLYDWHGLWDVZHOO"

<HV

E\0U

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$QWRVKVRFHUWDLQO\,ZDQWHG\RXWREHDZDUHWKDWUHFRUGLQJZDVKDSSHQLQJDQGWKDWWKHDXGLR
UHFRUGLQJZLOOEHFRPHDSHUPDQHQWSDUWRI\RXUFRQGXFWUHFRUGVMXVWOLNHWKHZULWWHQWKLQJVWKDWDUH
HQWHUHGLQWRHYLGHQFHLQWKLVKHDULQJ

7KHQH[WWKLQJWKDW,ZDQWHGWRQRWHIRUWKHUHFRUGLVZHZDQWWRGRLQWURGXFWLRQVRIHYHU\ERG\WKDW
LVLQWKHURRP,I\RX
UHDFROOHJHVWDIIPHPEHURUHPSOR\HHLI\RXFRXOGVWDWH\RXUQDPHDQG\RXU
WLWOH

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DQGLI\RX
UHDVWXGHQWLI\RXFRXOGVWDWH\RXUIXOOQDPHDQGWKHQOHWXVNQRZZKHWKHU\RX
UHD
IUHVKPDQRUDVRSKRPRUHRUZKDW\RXUPDMRULVWKDWZRXOGEHKHOSIXO$QGWKHQLI\RX
UHLQWKH
URRPVHUYLQJDVDQDGYLVRULI\RXFRXOGVWDWH\RXUQDPHIXOOQDPHDQGLQGLFDWHZKRP\RX
UHVHUYLQJ



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DVDQDGYLVRURU\RXUWLWOHLI\RX
UHDIILOLDWHGZLWKWKHFROOHJH:HZLOOVWDUWZLWK6WHYHQ6LWHV

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)LUVWIRUWKHUHFRUG,MXVWZDQWWROHWHYHU\ERG\NQRZWKDW,
PKHUHUHSUHVHQWLQJWKHFROOHJH,
PRII
GXW\ULJKWQRZZLWKWKHKLJKZD\SDWUROVR,
PRXWKHUHUHSUHVHQWLQJWKHFROOHJHSDWUROWKLVLVFROOHJH
EXVLQHVVRQO\6WHYHQ6LWHVVHFXULW\FRRUGLQDWRU

6WHSKDQLH/DQQLQJGHDQRIVWXGHQWV

&DUOD3DWHHH[HFXWLYHDVVLVWDQWWRWKHSUHVLGHQW

/DZDQD9DQ1DKPHQZLIHRI/\OH9DQ1DKPHQ

'LGZHKDYHQRWLILFDWLRQWKDWVKHZDVDWWHQGLQJ"

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:HZHUHVXSSRVHGWRKDYHDQ\DWWHQGHHVQRWLILHGLQZULWLQJ

,
OOOHWKHUNQRZWKDWVKHPD\RUPD\QRWEHDEOHWRDWWHQGVRLI\RXZDQWWRH[FOXGHKHU

2ND\,DSRORJL]HEXWZHZHUHVXSSRVHGWRKDYHEHHQQRWLILHGLIDQ\RQHZDVFRPLQJWRWKHKHDULQJ
RQEHKDOIRI/\OHVRRND\ZKDW,ZDQWWRGR

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LV,ZDQWWRKDOWWKHKHDULQJDWSPZH
OOWDNHDVKRUWEUHDN,ZDQWWRVSHDNZLWKDQDGYLVRUZH
OO
EHULJKWEDFN

'R\RXZDQWPHWRVWRS"

<HDKVWRSWKHUHFRUGLQJ

$UH\RXEDFNRQ"

<HV

2ND\ZH
OOUHVXPHWKHKHDULQJDWSPDQGZH
OOFRQWLQXHE\LQWURGXFWLRQV:HZLOOSHUPLW\RX
WRDWWHQGWKHKHDULQJ

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JRDKHDGDQGLQWURGXFH\RXUVHOI/DZDQD9DQ1DKPHQ6SHDUYLOOH.DQVDVZLIHRI/\OH9DQ1DKPHQ




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$OULJKWWKDQN\RX

+DUROG1ROWH'RGJH&LW\&RPPXQLW\&ROOHJHSUHVLGHQW

0RQLFD0DOOH\UHVLGHQWOLIHRSHUDWRUDQGVWXGHQWDFWLYLWLHVFRRUGLQDWRU

-DQD+ROZHUWDGHDQRIDFDGHPLFV'RGJH&LW\&RPPXQLW\&ROOHJH

3HWHU$QWRVKODZ\HUIRU/\OH9DQ1DKPHQ

*OHQQ.HUEVFROOHJHDWWRUQH\

3DXO<RXQJSURIHVVRURIHFRQRPLFV

/\OH9DQ1DKPHQ

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$QGDUH\RXDIUHVKPDQRUDVRSKRPRUHVWDWXVDQGZKDWLV\RXUPDMRU"

,ZDVDUHWXUQLQJ,JUDGXDWHGVRPHWLPHDJRIURP'RGJH&LW\,ZDVDUHWXUQLQJVWXGHQWWU\LQJWR
VHHNDQRWKHUGHJUHH

$QGZKDWDUH\RXVHHNLQJ"

:HOO,JHWLQWKHPHGLFDOIHHORUVRPHWKLQJOLNHWKDW

$OOULJKWWKDQN\RX

-RVK7KRPSVRQGLUHFWRURIVHFXULW\

%HWW\$QQ6RXWKDGPLVVLRQVDVVLVWDQWEXWKHUHDVDUHFRUGHU

2ND\,
P%HYHUO\7HPDDW%HYHUO\7HPDDW

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YLFHSUHVLGHQWRIVWXGHQWDIIDLUVDQGULVNPDQDJHPHQWDQGIRUWKHSXUSRVHVRIWKLVKHDULQJ,
OOEH
VHUYLQJDVWKHFKLHIMXGLFLDORIILFHU7KDQN\RXHYHU\ERG\IRULQWURGXFLQJ\RXUVHOI:H
UHJRLQJ
WRPRYHRQ/\OHZLWKZKDW,FRQVLGHUWREHVRPHWHFKQLFDOSURFHGXUHVWKDWZHUHDGLQWRWKHUHFRUG
DQGWKHUHDUHDFWXDOO\WKUHHSDUWVWRWKLVKHDULQJDQG,
OONLQGRIJRWKURXJKWKDWLQDPLQXWHVRWKH
ILUVWSDUWZH
OOMXVWEHUHDGLQJLQWRWKHUHFRUGWKLQJVWKDW,WKLQN\RXKDYHDOUHDG\EHHQSURYLGHG

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RU\RXUDWWRUQH\VKDYHEHHQSURYLGHGSUHYLRXVO\6RRQHRIWKHWKLQJVWKDW,ZDQWWRSRLQWRXWKDV



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DOUHDG\RFFXUUHG/\OHLIDWDQ\WLPH\RXZDQWWRVSHDNGLUHFWO\ZLWK\RXUDGYLVRU0U$QWRVKDOO
\RXKDYHWRGRLVMXVWOHWPHNQRZ\RX
GOLNHDEUHDNDQGZH
OOVWRSWKHUHFRUGLQJ:H
OOKDOWWKH
KHDULQJDQG\RX
UHSHUPLWWHGWRJRDQGVSHDNZLWK0U$QWRVK\RXFDQJRRXWVLGHWKHURRPDQG

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WDNHDVORQJDV\RXZRXOGOLNHWRJHWDGYLFHDQGWKHQZHZLOOUHVWDUWZKHQ\RXUHHQWHUVRDOO\RX
QHHGWRGRLVMXVWOHWPHNQRZDQGZH
OOWDNHDEUHDNULJKWDZD\RND\"

9HU\JRRG

$QGWKHQWKHRWKHUWKLQJLIDQ\RQHHOVHQHHGVDEUHDNRU\RXQHHGDEUHDN/\OHSOHDVHOHWPHNQRZ
DQGZHFDQWDNHDEUHDNLIDQ\RQHQHHGVWR$QGWKRVHRI\RXWKDWDUHQRWIDPLOLDUZLWKWKHVWXGHQW
XQLRQWKHPHQ
VUHVWURRPLVWKLVZD\DQGWKHZRPHQ
VLVWKLVZD\

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DQGZHFDQWDNHDEUHDNDWDQ\WLPH2ND\DUH\RXUHDG\WRJHWVWDUWHG"2ND\ILUVWRIDOORQWKH
ERWWRPRISDJH,ZDQWHGWRQRWHWKDWSUHVHQFHRIDQDWWRUQH\DWWKHERWWRPRISDJHRQWKH
OHIWFROXPQ7KHFROOHJHVKDOOKDYHWKHULJKWWRKDYHDQDWWRUQH\SUHVHQWIRUDGYLFHDQGWKDW
VZK\
ZHKDYH0U*OHQQ.HUEVKHUHUHSUHVHQWLQJWKHFROOHJH3ULRUUHVWULFWLRQV

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DWWKHWRSRIWKHFROXPQ7KHFROOHJHUHVHUYHVWKHULJKWWRLPSOHPHQWDQ\VWXGHQWVDQFWLRQRU
UHVWULFWLRQRIUHFRUGVRQDQLQWHULPEDVLVSULRUWRDKHDULQJDQGVRWKDW
VZK\,ZDQWHGWRH[SODLQ
\RXGRKDYHVRPHLQWHULPVDQFWLRQVWKDWZHUHJLYHQWR\RXHDUOLHUWKDWZHUHVXVSHQVLRQIURPWKH
FROOHJHDQGWUHVSDVVIURPWKHFDPSXVDQGWKDWZDVRQDWHPSRUDU\EDVLVSHQGLQJWKHRXWFRPHRIWKLV
KHDULQJDQGVR

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,ZDQWHG\RXWRNQRZZK\WKDWZDVGRQHDFFRUGLQJWRRXUSROLF\EDVHGRQDQLQWHULPEDVLV2ND\
WKHRWKHUWKLQJWKDW,ZDQWHGWRUHDGLQWRWKHUHFRUGLVRQSDJHDQGLW
VDERXWRQHWZRWKUHHIRXU
WKHUHDUHIRXUSDUDJUDSKVLQWKHVDPHFROXPQ7KHILUVWFROXPQLWVD\VSUHVHQFHRIDQDWWRUQH\RU
DGYLVRU7KHVWXGHQWPD\KDYHDQDWWRUQH\RUDGYLVRUSUHVHQW7KHUROHRIWKHDWWRUQH\RUDGYLVRU

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LVOLPLWHGWRDGYLVLQJWKHVWXGHQW7KHDWWRUQH\RUDGYLVRUPD\QRWGLUHFWO\TXHVWLRQZLWQHVVHVRU
WKH MXGLFLDO KHDULQJ ERDUG  6KRXOG WKH DGYLVRU RU DWWRUQH\ LQWHUIHUH ZLWK WKH SURFHGXUH RI WKH
FRQGXFWUHYLHZKHDULQJWKHFROOHJHUHVHUYHVWKHULJKWWRH[FOXGHWKHPIURPWKHKHDULQJ6WXGHQWV
ZKRZLVKWRKDYHDQDGYLVRURUDQDWWRUQH\SUHVHQWPXVWQRWLI\WKHMXGLFLDOKHDULQJERDUGLQZULWLQJ
DWOHDVWKRXUVLQDGYDQFH6XFKQRWLFH

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PXVWLQFOXGHWKHQDPHDQGDGGUHVVRIWKHDGYLVRURUDWWRUQH\DVZHOODVDQDXWKRUL]DWLRQ6RRQHRI
WKHWKLQJVWKDW,GLGZDQWWRQRWHIRUWKHUHFRUGLVWKDW0U$QWRVKGLGQRWLI\XVLQZULWLQJWKDWKH
ZRXOGEHKHUHVHUYLQJLQWKHFDSDFLW\RIDQDGYLVRUDQGWKDWKDVEHHQDSSURYHGZHOOLQDGYDQFHRI
WKHWLPHIUDPHWKDWZDVUHTXLUHG2ND\GRHVDQ\RQHDWWKLVSRLQWKDYHDQ\TXHVWLRQV"

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0U9DQ1DKPHQGR\RXKDYHDQ\TXHVWLRQV"

,KDYHDTXLFNTXHVWLRQWKLVLV3HWH$QWRVK

2ND\,
PVRUU\0U$QWRVKEXWZHQRUPDOO\GRQ
WWDNHTXHVWLRQVIURPWKHDGYLVRUV,I\RXZDQWXV
WRVWRSWKHKHDULQJDQGWKHQDVNWKHTXHVWLRQZHFDQGRWKDWEXWDFWXDOO\LQWKHSURFHHGLQJVZH
QRUPDOO\GRQ
WWDNHTXHVWLRQVIURPWKHDGYLVRUV

2ND\WKDW
VILQH

'R\RXZDQWWRVWRS"

1R

'R\RXZDQWWRSURFHHG"

,
PJRQQD

'R\RXZDQWWRFRQIHUZLWK\RXU

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0U9DQ1DKPHQ"

,
PMXVWJRQQDKRSHWKDW\RXDQVZHUWKHTXHVWLRQLI\RXGRQ
WDQVZHUWKHTXHVWLRQLQWKHFRXUVHRI
WKHSURFHHGLQJVWKHQ,
OOWU\WRWDNHDWLPHRXW

6XUHRND\WKDWVRXQGVJRRG$OULJKWLI\RXORRNRQSDJHLWVD\VSURFHGXUHVIRUFRQGXFWUHYLHZ
KHDULQJV  'RGJH &LW\ &RPPXQLW\ DERXW KDOIZD\ GRZQ RQ WKH ULJKW FROXPQ SURFHGXUHV IRU
FRQGXFWUHYLHZKHDULQJV

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'RGJH&LW\&RPPXQLW\&ROOHJHIRUPDOFRQGXFWUHYLHZKHDULQJVDUHWREHFRQGXFWHGVRDVWRHQVXUH
IDLUQHVVWRWKHVWXGHQWVFKDUJHGZLWKYLRODWLRQVRIWKHFRGHRIFRQGXFW)RUPDOUXOHVRIHYLGHQFHDUH
QRWWREHDSSOLHG7KHGHDQRIVWXGHQWVRUKLVKHUGHVLJQHHVHUYHVDVWKHMXGLFLDOKHDULQJERDUG
DGPLQLVWUDWRUDWFRQGXFWUHYLHZKHDULQJV7KHFROOHJHFRQYHQHVDVSHFLDOMXGLFLDOKHDULQJERDUG



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FRPSULVHGRIUHSUHVHQWDWLYHVIURPDQ\FRPELQDWLRQRIIDFXOW\VWDIIDQGDGPLQLVWUDWLRQ

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LQRUGHUWRSURFHHGZLWKWKHFRQGXFWUHYLHZKHDULQJVR,ZDQWHGWRQRWHIRUWKHUHFRUGWKDWRXU
KHDULQJ SDQHO LV PDGH XS RI D FROOHJH VWDII PHPEHU D FROOHJH IDFXOW\ PHPEHU DQG D FROOHJH
DGPLQLVWUDWRULQDFFRUGDQFHZLWKRXUQRUPDOSURFHGXUHVDQGWKH\KDYHLQWURGXFHGWKHPVHOYHV
2ND\6RQH[WXS,ZDQWHGWRH[SODLQWKHSDUWVRIWKHFRQGXFWUHYLHZKHDULQJVRWKDW\RXZRXOG
XQGHUVWDQG/\OH

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NLQGRIZKDW
VJRLQJRQ7KHILUVWSDUWLVSUREDEO\PD\EHVRPHZKDWDOLWWOHELWIUXVWUDWLQJWR\RX
EHFDXVHZH
UHJRLQJWREHUHDGLQJDORWRIWKLQJVLQWRWKHUHFRUG,
PJRLQJWREHWDONLQJDORWRWKHU
SHRSOHDUHJRLQJWREHWDONLQJDQGWKDW
VXVSUHVHQWLQJWKHHYLGHQFHWKDWZHKDYHWKDWOHGXVWRWKLV
FRQGXFWUHYLHZKHDULQJ7KHQH[WSDUWLVSUREDEO\WKHPRVWLPSRUWDQWSDUWRIWKHKHDULQJDQGWKDW
V
\RXURSSRUWXQLW\WRWHOO\RXUVLGHRIWKHVWRU\

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DQGWRSUHVHQWHYLGHQFHWKDW\RXPD\KDYHRULQIRUPDWLRQWKDW\RXWKLQNZHGLGQ
WKDYHRUWKH
KHDULQJSDQHOKDVDQGLW
VYHU\LPSRUWDQWIRU\RXUGXHSURFHVVULJKWVDQG\RXKDYHWKHRSSRUWXQLW\
WR SUHVHQW DOO RI WKDW DQG ZH
OO EH KHUH IRU DV ORQJ DV \RX ZRXOG OLNH WR SUHVHQW WKDW NLQG RI
LQIRUPDWLRQ%XWDJDLQ,GRWKLQNLWLVLPSRUWDQWZKHQZH
UHKDYLQJZLWQHVVHVJLYHDVWDWHPHQWZKLFK
\RXDOUHDG\KDYHWKHZULWWHQVWDWHPHQWVRUWKH\
UHJLYLQJYHUEDO

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WHVWLPRQ\LI\RXZDQWWRZULWHGRZQQRWHVWKDWNLQGRIWKLQJ\RXGRKDYHWKHRSSRUWXQLW\ODWHULQWKH
KHDULQJWRDVNWKHPTXHVWLRQVDERXWWKHLUVWDWHPHQWVRUWKLQJVWKDW\RXGRQRWXQGHUVWDQGVR,NQRZ
LW
OO EH D OLWWOH IUXVWUDWLQJ OLVWHQLQJ IRU D ZKLOH EXW , GR ZDQW \RX WR NQRZ WKDW \RX KDYH WKDW
RSSRUWXQLW\DQGWKDWLVDFWXDOO\WKHPDLQSDUWRIWKHKHDULQJ\RXURSSRUWXQLW\WRWHOO\RXUVLGHRIWKH
VWRU\%HFDXVHZKDW
OOKDSSHQLVWKHUH
VD

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QXPEHURIVDQFWLRQVWKDWDUHOLVWHGLQWKHFRGHRIFRQGXFWWKDWFRXOGEHSXWLQWRSODFHDVDILQDO
VDQFWLRQ:HPRVWOLNHO\ZLOOEHPRGLI\LQJ\RXUWHPSRUDU\VDQFWLRQV$QGDOORIWKRVHVDQFWLRQV
DUHRXWOLQHGLQWKHFRGHRIFRQGXFWWKDW\RXDQG\RXUDWWRUQH\ZHUHJLYHQ  6RWDNHQRWHVGR
ZKDWHYHU\RXZRXOGOLNHDVIDUDVSUHVHQWLQJDVNLQJTXHVWLRQVDQGDJDLQWKHKHDULQJSDQHODQGWKH
UHVWRIWKHSHRSOHLQWKHURRPZLOOVWD\KHUH

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DVORQJDV\RXZRXOGOLNHEHFDXVHWKDWLVWKHPRVWHVVHQWLDOSDUWRIWKLVKHDULQJRND\$QGWKHQWKH
WKLUGSDUWZKHQZH
UHDOOILQLVKHGDQG\RX
UHILQLVKHGSUHVHQWLQJ\RXULQIRUPDWLRQWRWKHKHDULQJ



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SDQHOWKHKHDULQJSDQHOGRHVJRLQWRGHOLEHUDWLRQVDQGWKH\PDNHDGHFLVLRQUHODWHGWRZKHWKHURU
QRWWKH\ZLOOPRGLI\WKLVVDQFWLRQUHYLVHLWWKURZLWRXWZKDWHYHU%XW,GRWKLQNRQHWKLQJWKDWLV
XVXDOO\LPSRUWDQWLQP\

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H[SHULHQFHLQZRUNLQJZLWKKHDULQJSDQHOVWKDW\RXPLJKWZDQWWRWKLQNDERXWXVXDOO\WKH\ZDQWWR
NQRZZKDW\RXUDFDGHPLFJRDOVDUHIRUDWWHQGLQJWKHFROOHJH,KHDUG\RXVD\DIHZPLQXWHVDJR
WKDW\RX
UHFRQVLGHULQJDQRWKHUFDUHHUVR,WKLQNWKDWNLQGRIWKLQJZKDW\RXUJRDOVDUHJHQHUDOO\
KHDULQJSDQHOVZDQWWRKHDUVRPHRIWKRVHNLQGVRIWKLQJVVRWKDWWKH\NQRZZKDW\RXULQWHQWLRQLV
LI\RXFRQWLQXHKHUHDVDVWXGHQW2ND\"6RWKRVHDUHMXVW

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VRPHWKLQJVWKDWWKH\PD\DVN\RXDERXWRU\RXPD\ZDQWWRRIIHU%XWFHUWDLQO\DQ\WKLQJHOVHWKDW
\RXWKLQNLVUHOHYDQWSOHDVHSURYLGHWKDWIRUDOORIWKLVRND\$OULJKWDQ\TXHVWLRQVWKXVIDU",IOLNH
,VDLG\RXQHHGD

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EUHDNDWDQ\WLPHRU\RXZDQWWRFRQIHUZLWK0U$QWRVKSOHDVHVWRSPHZH
GEHKDSS\WRWDNHD
EUHDNDQG\RXFDQGRWKDWDQGWKHQLIDQ\RWKHUPHPEHUKHUHZRXOGOLNHDEUHDNSOHDVHOHWXVNQRZ
2ND\,
PJRQQDOLNH,VDLG,
PJRQQDUHDGVRPHWKLQJVLQWRWKHUHFRUGDQGWKHQZH
OOJRIURPWKHUH
DQGZHZLOOFDOOVRPHZLWQHVVHV$QG\RXGRKDYHDULJKWWRDVNTXHVWLRQVRIWKRVHZLWQHVVHVZKHQ
ZHJHWWR\RXUSDUWRND\$OULJKWILUVW,ZDQWHGWRUHDGLQWRWKHUHFRUGDOHWWHUWKDWZDVLVVXHGRQ
'HFHPEHUWKHWK

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IURPGHDQ6WHSKDQLH/DQQLQJDQGLWVD\V7KLVOHWWHULVWRFRQILUPLQZULWLQJWKDW\RX
YHEHHQSODFHG
XQGHUWHPSRUDU\VDQFWLRQVSHQGLQJDFRQGXFWUHYLHZKHDULQJGXHWRDUHSRUWHGYLRODWLRQRIWKH
VWXGHQWFRGHRIFRQGXFWEHKDYLRUPLVFRQGXFWRQFDPSXV<RX
OOEHQRWLILHGDVWRZKHQ\RXUVWXGHQW
FRGHRIFRQGXFWKHDULQJZLOOWDNHSODFH7KLVLVDIRUPDOZULWWHQZDUQLQJDQGWKHQWKHILUVWRQHVD\V
(IIHFWLYHLPPHGLDWHO\\RX
YHEHHQWHPSRUDULO\

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WHPSRUDULO\,DSRORJL]HWUHVSDVVHGFDPSXVZLGHZLWKRQO\RQHH[FHSWLRQQRWHGEHORZDWQXPEHU
WZR,I\RXDUHREVHUYHGRQWKH'RGJH&LW\&RPPXQLW\&ROOHJHFDPSXVRUDWDQ\'RGJH&LW\
&RPPXQLW\&ROOHJHHYHQWVRXUVHFXULW\VWDIIZLOOEHFDOOHGDQG\RXPD\EHVXEMHFWWRLPPHGLDWH
UHPRYDOIURPFDPSXVDQGDUUHVWHGIRUFULPLQDOWUHVSDVVDQGLWFLWHVWKH.6$VWDWXWHVSHFLILFDOO\
'RGJH&LW\&RPPXQLW\&ROOHJHVHFXULW\ZLOOQRWLI\ODZHQIRUFHPHQWRIILFHUV

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IURPWKH'RGJH&LW\3ROLFH'HSDUWPHQWRUWKH)RUG&RXQW\6KHULII
V2IILFHWKDW\RXDUHYLRODWLQJ



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DWUHVSDVVVDQFWLRQDQG\RXPD\EHVXEMHFWWRLPPHGLDWHDUUHVWIRUWUHVSDVV1XPEHUWZR\RXDUH
RQO\SHUPLWWHGWRDWWHQG\RXUILQDOH[DPIRUWKH$DQG3FRXUVH\RXDUHFXUUHQWO\WDNLQJ<RXPD\
RQO\HQWHUWKHVFLHQFHDQGPDWKEXLOGLQJWRFRPSOHWHWKHH[DP<RXUILQDOLVVFKHGXOHGIRU0RQGD\
'HFHPEHUQG$QGWKHQ

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LWVD\VWKDWLQIRUPDWLRQUHJDUGLQJWKHVWDWXWHFDQEHIRXQGLQWKH'RGJH&LW\&RPPXQLW\&ROOHJH
FDOHQGDUKDQGERRNDQGLWJLYHV\RXWKHSKRQHQXPEHUDQGLWVD\VLI\RXKDYHIXUWKHUTXHVWLRQV
SOHDVHFDOO6WHSKDQLH/DQQLQJGHDQRIVWXGHQWVDQGWKHQLWJLYHVKHUSKRQHQXPEHUDQGWKHQKHU
VLJQDWXUH,MXVWZDQWHGWRGRXEOHFKHFNGR\RXUHFDOOUHFHLYLQJWKLVOHWWHU"2ND\$QG,
OOSDVVWKH
OHWWHUWRWKHKHDULQJSDQHOPHPEHUVVR\RXFDQDOVRUHDGLW

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7KHQH[WOHWWHULVRQ0DUFKWKHWKRILW
VDGGUHVVHGWR\RXDQGVD\VSOHDVHDFFHSWWKLVOHWWHU
DVZULWWHQFRQILUPDWLRQWKDWDIRUPDOGLVFLSOLQDU\KHDULQJKDVEHHQVFKHGXOHGIRU:HGQHVGD\0DUFK
WKDWSPLQWKH)RUG&RXQW\5RRPLQWKHVWXGHQWXQLRQXSSHUOHYHORQWKHFDPSXVRI'RGJH
&LW\&RPPXQLW\&ROOHJH7KHSXUSRVHRIWKHGLVFLSOLQDU\KHDULQJLVWRGHWHUPLQH\RXUDOOHJHG
LQYROYHPHQWDQGYLRODWLRQVRIWKH'&&&FRGHRIFRQGXFW

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7KHVH VSHFLILF DOOHJDWLRQV DUH WKDW \RX YLRODWHG FRQGXFW H[SHFWDWLRQV QRWHG LQ WKH EHKDYLRU
PLVFRQGXFWSDJHDQGDVVDXOWSDJHVHFWLRQVRIWKHFRGHRIFRQGXFWRQRUDERXW'HFHPEHUWK
DQGRQRUDERXW'HFHPEHUWK6SHFLILFDOO\WKHFKDUJHVDUHDVIROORZVDQGWKHQLWOLVWV
EHKDYLRUPLVFRQGXFWRQSDJHDQGLWVWDWHVGLUHFWTXRWHVIURPWKHEHKDYLRUPLVFRQGXFW

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LQWKHFRGHRIFRQGXFW%XW,ZDQWHGWRQRWHWKDWQRWDOOSURYLVLRQVRIWKHEHKDYLRUPLVFRQGXFWDSSO\
WRWKLVVLWXDWLRQDQGLQVWHDGWKHUHDUHVSHFLILFSKUDVHVWKDWDUHEROGHGDQGXQGHUOLQHGWKDWGRDSSO\
7KRVHWKDWDUHQRWEROGHGRUQRWXQGHUOLQHGGRQRWDSSO\WR0U9DQ1DKPHQ
VVLWXDWLRQ%HKDYLRU
PLVFRQGXFW VWDWHV VWXGHQWV DUH QRW WR H[KLELW EHKDYLRU WKDW WKUHDWHQV DQ\ SHUVRQ RU FRQGXFW
WKHPVHOYHVLQD

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GLVRUGHUO\PDQQHU6RLWZDVEHKDYLRUGLVRUGHUWKDWZDVWKUHDWHQLQJWRDDQRWKHUSHUVRQDQGWKHQ
FRQGXFWLQJWKHPVHOYHVLQDGLVRUGHUO\PDQQHU2QDVVDXOWSDJHDJDLQWKHVDPHSURYLVLRQVDSSO\
RQO\WKRVHWKDWDUHXQGHUOLQHGDSSO\WR0U9DQ1DKPHQDQGWKDWZRXOGEHDQ\DFWXDORUWKUHDWHQHG
LQWHUIHUHQFHDQGWKHQGRZQEHORZLQWLPLGDWLRQ

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DJDLQVWDQ\PHPEHURIWKHFROOHJHFRPPXQLW\LVIRUELGGHQ2IVSHFLDOQRWHLWVD\VRQO\WKH



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XQGHUOLQHGDQGEROGHGSURYLVLRQVRIHDFKFRGHRIFRQGXFWVHFWLRQDUHLQFOXGHGLQWKHDOOHJDWLRQVDQG
FKDUJHVWKDWZHUHVSHFLILFDOO\UHODWHGWRWKLVFRQGXFWKHDULQJ2ND\LWVD\VDFFRUGLQJWRWKHFRGH
RIFRQGXFWVWXGHQWVFDQEHKHOGUHVSRQVLEOHIRUWKHLUEHKDYLRURQRURIIFDPSXV

$FFRUGLQJWRWKHKDQGERRNFRGHRIFRQGXFWSDJH'RGJH&LW\&RPPXQLW\&ROOHJHUHVHUYHV
WKHULJKWWRLPSRVH

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GLVFLSOLQDU\VDQFWLRQVIRUIDLOXUHWRFRPSO\ZLWKWKHFRGHRIFRQGXFWDQGRWKHUSROLFLHVDQGLWVD\V
EDVHG RQ WKH SUHYLRXVO\ VWDWHG FKDUJHV DERYH LW VD\V HIIHFWLYH RQ 'HFHPEHU WK  \RX ZHUH
WHPSRUDULO\WUHVSDVVHGFDPSXVZLGHZLWKRQO\WKHH[FHSWLRQWKDWZHKDGQRWHGEHIRUHWRDWWHQG
\RXUILQDODQGWKHQ\RXZHUHQRWLILHGWUHVSDVVVWDWXWHV$JDLQ,ZDQWWRUHDGLQWRWKHUHFRUGRQ
QXPEHUWZR\RXZHUHSHUPLWWHGWRDWWHQG\RXUILQDOH[DPIRUWKH$DQG3

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RQHFRXUVH\RXZHUHWDNLQJLQWKH)DOOVHPHVWHU<RXZHUHSHUPLWWHGWRHQWHUWKHVFLHQFHPDWK
EXLOGLQJ WR FRPSOHWH \RXU H[DP WKDW ZDV VFKHGXOHG E\ 3URIHVVRU6FRWW 7KRPSVRQ RQ 0RQGD\
'HFHPEHUWKIURPSPWRSP)RUWKHUHFRUGZHDUHQRWDZDUHRIDQ\YLRODWLRQVRQ\RXU
SDUWRI\RXUWHPSRUDU\WUHVSDVVVDQFWLRQWKDWKDYHRFFXUUHGVLQFH'HFHPEHUDQGWKHGDWH
RIWKLVOHWWHU,DPDOVRQRW

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,ZDQWWRQRWHIRUWKHUHFRUG,
PQRWDZDUHRIDQ\RWKHUWUHVSDVVSUREOHPVRUYLRODWLRQVUHODWHGWR
WKLV,VWKHUHDQ\SHUVRQSUHVHQWDZDUHRIDQ\"2ND\KHDULQJQRQHZH
OOPRYHRQ,WVD\V\RXU
SOHDVH UHYLHZ WKH '&&& FRGH RI FRQGXFW SULRU WR \RXU KHDULQJ LQ RUGHU WR EH IDPLOLDU ZLWK
SURYLVLRQVDQGSURFHGXUHV,I\RXKDYHDQ\TXHVWLRQVSOHDVHFRQWDFWDQGWKHQLWJLYHVP\QDPHDQG
QXPEHURUDVN\RXUDWWRUQH\WRFRQWDFW

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*OHQQ.HUEVDQGLWJLYHV0U.HUEV
FRQWDFWQXPEHU2ND\DIWHUDIWHUWKDWGDWH,GREHOLHYHWKDW\RX
KDGDQDWWRUQH\DQGWKHQFKDQJHGDWWRUQH\VDQGVR\RXZHUHQRWLILHGLQHDFKWLPHDQGZHKDGD
GHOD\LQWKHKHDULQJGDWHDWWKHUHTXHVWRI,EHOLHYH0U$QWRVKZDVWKHVHFRQGRQHVRWKDWKHZRXOG
KDYHDFKDQFHWRUHYLHZWKHPDWHULDOV

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ZH KDG SURYLGHG SUHYLRXVO\ DQG VR D QHZ FRQWDFW GDWH DQG WLPH ZDV VHW ZLWK D GDWH WKDW ZDV
DYDLODEOHWR\RXDQG\RXUDWWRUQH\DQGWKRVHWKDWZHQHHGHGWRKDYHSUHVHQWDQGWKDW
VWRGD\DQGLW
ZDVDWSPDQG,EHOLHYHWKDWZDVFRPPXQLFDWHGIURP0U.HUEVWR\RXUDWWRUQH\VRDJDLQ,
DSSUHFLDWH HYHU\ERG\
V SDUWLFLSDWLRQ KHUH DQG , DSSUHFLDWH \RX EHLQJ KHUH EHFDXVH LW LV YHU\
LPSRUWDQWIRU\RXUIXWXUHVWDWXVDVDVWXGHQWDWWKHFROOHJH




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$OULJKWGR\RXKDYHDQ\TXHVWLRQVWKXVIDU"$Q\RQHHOVH"

2ND\RQHRIWKHWKLQJVWKDW,KRSHWKDWZHFDQJHWWRULJKWDZD\LVZHZLOOVWDUWFDOOLQJRXUZLWQHVVHV
UHODWHGWRDFRXSOHRILQFLGHQWVWKDWOHGWRXVDOOEHLQJKHUHWKDWZHEHOLHYHGZHUHYLRODWLRQVRIWKH

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FRGHRIFRQGXFWRQ\RXUSDUWDQGWKDW
VZK\ZHSXWWKHWHPSRUDU\VDQFWLRQVLQSODFH)LUVWZLWQHVV
WKDW,ZRXOGOLNHWRFDOOLVGHDQ6WHSKDQLH/DQQLQJ

2ND\'HDQ/DQQLQJFDQ\RXJRDKHDGDQGSURFHHGDQGWHOOXV\RXULQYROYHPHQWUHODWHGWRWKHVH
LQFLGHQWV"

<RXZDQWPHWRUHDGP\VWDWHPHQWV"

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7KDWZRXOGEHILQH\RXFDQUHDGLWRU\RXFDQJLYHDYHUEDORUERWK

2ND\RQ0RQGD\'HFHPEHUWKDWSP/\OHFDPHLQWRP\RIILFHZDQWLQJWRNQRZLIWKH
FROOHJHZDVVHOOLQJLWVODQGDORQJ)RXUWHHQWK$YHQXHIRUUHWDLOGHYHORSPHQW,H[SODLQHGWRKLPWKDW
WKHFROOHJHZDVQRWFXUUHQWO\VHOOLQJWKHODQGEXWWKDWWKHUHZDVDQLQIRUPDWLRQDOPHHWLQJKHOGRQ
7XHVGD\1RYHPEHUQG

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ZLWK'RGJH&LW\HFRQRPLFGHYHORSPHQWWRGLVFXVVWKHRSWLRQ,DOVRWROGKLPWKDWDERDUGPHHWLQJ
ZDVVFKHGXOHGIRU0RQGD\'HFHPEHUWKDWSP$WWKLVERDUGPHHWLQJWKHERDUGZRXOG
GHFLGHLIWKH\ZHUHLQWHUHVWHGLQORRNLQJLQWRVHOOLQJWKHODQGRUQRWEXWWKDWLWZDVQRWDGRQHGHDO
+HDVNHGLI3UHVLGHQW1ROWHZDVWKHRQHWRPDNHWKHGHFLVLRQWRVHOOWKHODQG,WROGKLPLWZDVQRW
WKHSUHVLGHQW
VGHFLVLRQWKDWLWZDVWKHERDUGRIWUXVWHHV
GHFLVLRQ

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+HVWDWHGKHZDQWHGWRYLVLWZLWKWKHSUHVLGHQW,WROGKLPWKDWKHQHHGHGWRVFKHGXOHDQDSSRLQWPHQW
ZLWK&DUOD3DWHHH[HFXWLYHVHFUHWDU\WRWKHSUHVLGHQWLIKHZDQWHGWRYLVLWZLWKWKHSUHVLGHQW+HDOVR
ZDQWHGWRNQRZZKDWP\RSLQLRQRQWKHPDWWHUZDV,WROGKLPWKDWP\RSLQLRQZDVSHUVRQDO$W
 WKDW GD\  SP RQ 0RQGD\ 'HFHPEHU WK LQ FDELQHW , XSGDWHG WKH SUHVLGHQW RQ WKH
FRQYHUVDWLRQ,KDGZLWK/\OH9DQ1DKPHQ


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KHVWDWHGKHKDGPHWZLWKKLPMXVWEHIRUHFDELQHWPHHWLQJ7KHQRQ7KXUVGD\'HFHPEHUWK



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DWDP/\OH9DQ1DKPHQFDPHLQWRVWXGHQWVHUYLFHV,QRWLFHGKLPZDONLQJLQIURQWRIP\RIILFH
DQGDURXQGVWXGHQWVHUYLFHVEXW,KDGVRPHRQHLQP\RIILFHDWWKHWLPH+HWKHQVDWGRZQDWRQHRI
WKHDGPLVVLRQVUHSV
GHVNVDQGWKH\KDQGHGKLPDSLHFHRISDSHUDQGDSHQFLO,FDPHRXWRI

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P\RIILFHDQGDVNHG/\OHLIKHQHHGHGDVVLVWDQFH+HVWDWHGKHMXVWQHHGHGDSLHFHRISDSHUDQGD
SHQFLO WR ZULWH D OHWWHU DQG WKDW LW ZDV JLYHQ WR KLP  , DVNHG LI KH QHHGHG DVVLVWDQFH IURP WKH
DGPLVVLRQVUHS+HVDLGQRVR,PRYHGKLPLQWRWKH&RURQDGR5RRPWRZULWHKLVOHWWHU:KHQ,GLG
WKLVKHDVNHGKRZWRVSHOO'U1ROWH
VQDPH,DVNHGKLPLIKHQHHGHGDQ\RWKHUDVVLVWDQFHKHVWDWHG
QR$WWKLVSRLQW,FDPHEDFNWRP\RIILFHFDOOHGVHFXULW\DVZHOO

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DV&DUODWRJLYHWKHPWKHKHDGVXSWKDW/\OHZDVLQWKHEXLOGLQJ/\OHWKHQFDPHWRP\RIILFHDQG
UHTXHVWHGWKDWVHFXULW\IROORZKLPWRZLWQHVVWKHVLJQDWXUH6WHYHQ6LWHVDQG%UDQGRQ2OLYHZDONHG
LQDQG,DVNHGWKHPWRZLWQHVVWKHVLJQDWXUH,DVNHG/\OHZKDWVLJQDWXUHKHQHHGHG+HKHVLWDWHG
DQGWKHQVWDWHGKHGLGQRWZDQWPHWRNQRZWRNHHSPHRXWRIWKHVLWXDWLRQ/\OH6WHYHQDQG
%UDQGRQH[LWHGWKHQH[LWHGRXWWKHZHVWGRRU
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2Q)ULGD\'HFHPEHUWKDWDPDWDP,ZDVLQIRUPHGE\%HYHUO\7HPDDWYLFHSUHVLGHQWRI
VWXGHQW DIIDLUV WKDW /\OH 9DQ1DKPHQ UHTXHVWHG WKH SUHVLGHQW
V UHVLJQDWLRQ LPPHGLDWHO\ IRU KLV
LQYROYHPHQWLQVHOOLQJWKHFROOHJHSURSHUW\$WWKLVSRLQWDQGDVWKHGHDQRIVWXGHQWV,WHPSRUDULO\
WUHVSDVVHG/\OHIURPFDPS/\OHFDPSXVZLGHH[FHSWIRUKLVILQDOH[DPLQ$DQG3

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IRUEHKDYLRUPLVFRQGXFW,JDYHWKHOHWWHUWR%HYHUO\7HPDDWWRJLYHWRVHFXULW\WRGHOLYHUWR/\OH

2ND\$QGLVWKLVDFRS\RIWKHOHWWHUWKDW\RXZURWHWREHGHOLYHUHGWR0U9DQ1DKPHQ"

&RUUHFW

2ND\DQGWKHQFDQ\RXWDONMXVWIRUDPLQXWHDERXWWKHZD\WKHOHWWHUZDVUHWXUQHG"

6RLQ

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XVXDOO\ZKDWKDSSHQVZKHQDVWXGHQWLVSODFHGRQWHPSRUDU\VDQFWLRQVRUVDQFWLRQVZHKDYHWKH
VHFXULW\RIILFHUVGHOLYHUWKHLGHQWLILFDWLRQWRWKHP,JLYHWKHPWZRFRSLHVRQHIRUWKHVWXGHQWWR
NHHSDQGWKHQRQHIRUWKHVWXGHQWWRVLJQDQGUHWXUQWRPHDQGWKHQ,GLGJHWWKHRQHUHWXUQHGWRPH
QRWVLJQHGE\0U9DQ1DKPHQEXWLWKDGD

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VWDWHPHQWUHDG\ZULWWHQRQWKHOHWWHU:RXOG\RXOLNHPHWRUHDGWKHVWDWHPHQWRQWKHOHWWHU"

<HDKJRDKHDGDQGUHDGWKHVWDWHPHQWRQWKHOHWWHUEDFNWRR

2ND\6RWKHOHWWHUWKDW,VKRXOGKDYHJRWWHQEDFNVLJQHGVWDWHGWKDWUHIXVHGDV,VWDQGDJDLQVWWKH
,FDQ
WUHDGWKHZRUG

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,FDQ
WUHDGWKHPFDXVHLW
VRYHUDFWLRQVRIWKRVH'RGJH&LW\&ROOHJH&RPPXQLW\&ROOHJH$WWKH
ERWWRPLWVD\V6WHSKDQLHLQ\RXUIDLOLQJWRVWDQGXSIRUWKH'RGJH&LW\&RPPXQLW\&ROOHJHWKH
IDFXOW\DQGWKHVWXGHQWV\RXVKRXOGTXLWUHVLJQ\RXUVHOI/\OH9DQ1DKPHQ

2ND\

2QWKHEDFNLWVD\V,VWDQGDJDLQVWWKHUXLQDWLRQRI'RGJH&LW\&RPPXQLW\&ROOHJH

                                                

IXOO\E\'U1ROWHDQGWKHQKHVLJQHGLW/\OH9DQ1DKPHQ

2ND\PD\,VHHWKDWMXVWIRUDPLQXWH"/\OHGR\RXUHFRJQL]HWKHZULWLQJWKDWLVRYHUWRSRIWKH
OHWWHULVWKDW\RXUZULWLQJ"

<HVWKH\DVNHGPHWRVLJQLWZKHQWKH\KDQGHGLW"<RX
UHDVNLQJPHDTXHVWLRQWKHRQHWKLQJLVLV
LWVD\V'HFHPEHUWKHWKDQGWKLVZDVKDQGHGWRPH'HFHPEHUWKHWK\RXUHFRJQL]HWKDWULJKW"

<HV

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ZHGR7KHUHDVRQZK\,KDQGHGWKDWWR\RXLVWKDW'HDQ/DQQLQJZDVQ
WDEOHWRUHDGSDUWRIWKH
ZULWLQJWKHUHVR,ZDVZRQGHULQJLI\RXFRXOGWHOOXVH[DFWO\ZKDWWKLVSDUWVD\V

8QHWKLFDO,IHHOWKHZD\WKHFROOHJHLVEHLQJUXQLVXQHWKLFDOLVZKDW,WULHGWRVD\

:KDWDUHWKHVHZRUGVULJKWKHUH"

8QHWKLFDOXQHWKLFDOLWVXQHWKLFDORND\DFWLRQVRIWKH

2ND\2ND\

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DQGWKHQZKDWLVWKDWZRUG"



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$QGWKDWZRUGWKHWKRVHWKDWUXQUXQ'RGJH&LW\&RPPXQLW\&ROOHJH

2ND\,MXVWZDQWHGWRPDNHVXUHWKDWZHZHUHUHDGLQJWKHZRUGVFRUUHFWO\WKDQN\RX$OULJKW'HDQ
/DQQLQJLVWKHUHDQ\WKLQJDWWKLVSRLQWWKDW\RXZRXOGOLNHWRDGG"

1R

,VWKHUHDQ\PHPEHUVRIWKHKHDULQJSDQHOWKDWKDYHDTXHVWLRQIRU'HDQ/DQQLQJ"

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2UZHFDQFDOOKHUEDFNXSDVZHOO1RWDWWKLVSRLQWRND\7KDQN\RX$QG\RXGRKDYHZKHQZH
JHWWR\RXUSDUWWKHULJKWWRDVNDQ\RIWKHZLWQHVVHVEDFNXSDQGDVNWKHPTXHVWLRQVRND\KHUHLQ
DIHZPLQXWHV$OULJKWQH[WXS,
GOLNHWRFDOO3UHVLGHQW+DUROG1ROWHDVDZLWQHVV

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3UHVLGHQW1ROWHWKDQN\RXIRUEHLQJKHUH,NQRZ\RXKDYHDEXV\VFKHGXOH,XQGHUVWDQGWKDW\RX
ZHUHJRLQJWRJLYHXVDYHUEDOUHSRUWRIZKDWRFFXUUHGLQ\RXURIILFHLQ\RXULQWHUDFWLRQVZLWK0U
9DQ1DKPHQ6RSOHDVHSURFHHG\RXFDQUHDGDVWDWHPHQWWKDW\RXKDGSURYLGHGRU\RXFDQSURYLGH
YHUEDOFRPPHQWVZKLFKHYHU\RX
UHFRPIRUWDEOHZLWK

,WKLQN,UHPHPEHUTXLWHZHOO

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/HWPHJLYH\RXDOLWWOHEDFNJURXQGRQP\FDUHHU,
YHEHHQLQHGXFDWLRQKLJKHUHGXFDWLRQIRU
\HDUV0\,
YHDOVREHHQD,
YHDOVREHHQRQWKHRWKHUVLGHRIWKHIHQFH,ZDVDYLFHSUHVLGHQWDGHDQ
DVZHOODVYLFHSUHVLGHQWIRUVWXGHQWVHUYLFHVDQGDOVRDWKOHWLFGLUHFWRUIRU\HDUV0\GHJUHHLV
LQFRXQVHOLQJDQGP\GRFWRUDWHLVDOVRLQHGXFDWLRQOHDGHUVKLS$ORQJWKDWLVDOVRLQSV\FKRORJ\
P\EDFNJURXQGLVVRFLRORJ\

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SV\FKRORJ\DQGVR,DPDZDUHRIWKHVLWXDWLRQDQGZKDWKDSSHQHGLQP\LQP\UHFDOOLQJLV0U
9DQ1DKPHQFDPHLQWRP\RIILFH,KDGQHYHUPHWWKHJHQWOHPDQEHIRUHKHFDPHLQVRPHZKDW
IULHQGO\VR,LQYLWHGKLPLQWRWKHRIILFH7KHVXQZDVRXWDQGVRZHKHZDVKDYLQJWURXEOHZLWKKLV

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ZLWKVHHLQJZLWKVHHLQJPHDQGVRZHZHQWDKHDGDQGFORVHGWKHEOLQGV,DVNHGKLPLIWKDWZDV
RND\KHVDLGWKDWZDVILQHVRZHZHQWDKHDGDQGFORVHGWKHEOLQGV:HWDONHGDOLWWOHELWDERXW
6SHDUYLOOHDERXWWKHFRPPXQLW\DQGWKDW,UHFHQWO\XQGHUVWDQGWKDWKH
VIURPWKHUHDQGVRZHWDONHG
DOLWWOHELWDERXWWKDWDQGWKHQTXLFNO\WKDWFRQYHUVDWLRQFKDQJHGYHU\YHU\TXLFNO\+HDVNHGPH

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DERXWZKRVHVWXSLGLGHDZDVWKHUHWDLOGHYHORSPHQWDQG,VDLGZHOOLW
VWKHFLW\DQGWKHGHYHORSHU
DQG,ZDVMXVWSUHVHQWLQJWKDWLQIRUPDWLRQWRWKHERDUG$QG,UHDOO\GRQ
WKDYHDGHFLVLRQLQWKDW
+HTXLFNO\JRWXSVHWZLWKPHDQGVDLGWKHERDUGLVROGDQGVWXSLG,IWKLVLV\RXULGHD\RXQHHGWR
UHVLJQ$QGKHTXLFNO\WULHGWR

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,JXHVVILQGSDSHUDQG,EDVLFDOO\VDLGKHDVNHGPHWRUHVLJQULJKWWKHUHDWWKDWWLPHDQG,LQIRUPHG
KLPLWZDVDTXLFNFRQYHUVDWLRQ,ZDVFRQFHUQHGDERXWP\VDIHW\,
OOEHKRQHVWZLWK\RX,UHDOO\
ZDVFDXVHKHJRWSUHWW\XSVHWDERXWLWDQG,IHOWOLNH,QHHGHGWRWDONKLPRIIWKHOHGJH,WZDVSUHWW\
LQWHQVHEXWILQDOO\KHJRWXSDQGKH0U9DQ1DKPHQJRWXSDQG

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OHIWDQGVR,TXLFNO\DIWHUWKDW,ZDVDOLWWOHELWFRQFHUQHG,WKLQNP\DVVLVWDQWUHDOL]HGP\FRQFHUQ
DQGRXWRIWKLUW\VHYHQ\HDUVRIGRLQJEHLQJHYHU\WKLQJIURPVWXGHQWDFWLYLWLHVGLUHFWRUWRDSUHVLGHQW
IRUWKUHHGLIIHUHQWVFKRROV,ZDVFRQFHUQHG$QG,
YHEHHQDGLVFLSOLQHRIILFHUDQG

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GRQHDORWRIWKHVHWKLQJVIRUGLIIHUHQWSODFHVEXW,ZDVFRQFHUQHGDERXWP\ZHOIDUH,UHDOO\ZDVDQG
VLU\RXGLGVFDUHPHYHU\PXFK$QGVR,ZHQWDKHDGDQGWDONHGWR.HLWKDQG,WKLQN-RVKDQGRWKHUV
DQGWKDWLVWKHUHDVRQZK\ZHKDYHPRYHGVHFXULW\GRZQVWDLUV%HFDXVHRIEHFDXVHRIWKDWLQFLGHQW
$QG,ZRUULHGDERXWP\ZHOIDUHDQG,
YHHYHQWKRXJKWDERXWGRLQJVRPH

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WKLQJVDWP\KRPHEHFDXVHRIEHFDXVHRI\RXNQRZ,ZDVLQ6SHDUYLOOHRQHZHHNHQGDQG,WKRXJKW
RKP\JRVKKHUH,DP<RXGR\RXGRKDYHWKDWWHQGHQF\WRVFDUHSHRSOH$QGWKDW
VP\WKDW
V
P\VWRU\

2ND\,VWKHUHDQ\WKLQJDQ\RQHZRXOGOLNHWRDVNKLPDWWKLVSRLQWDQ\WKLQJHOVHWKDW\RXZRXOG
OLNHWRDGG"

2WKHUWKDQWKLVLVWKLVLVDRSSRUWXQLW\IRUWKHIRURXUERDUG

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ZHGRQ
WNQRZZKDW
VJRQQDKDSSHQEXWP\MREDVDFROOHJHSUHVLGHQWLVWRRIIHURSSRUWXQLWLHVIRU
WKH FROOHJH IRU GRLQJ DOO VRUWV RI GLIIHUHQW WKLQJV  2IIHULQJ SURJUDPV RSSRUWXQLWLHV DV IDU DV
GHYHORSPHQWIRUH[DPSOHOLNHQXUVLQJSURJUDPVRUDQ\RIRXUSURJUDPVWKLVLVZKDW,GRDVDFROOHJH
SUHVLGHQW,WDONWRWKHERDUG,
PQRWWKHRQHWRGRWREULQJ,SUHVHQWWKHPWKHSURJUDPVVRWKDQN\RX
YHU\PXFK

2ND\



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ZDVDQ\UHVLJQDWLRQOHWWHUHYHUGLUHFWO\SUHVHQWHGWR\RXRULWZDVMXVWUHIHUUHGWRWKDWKHDVNHG\RX
WRUHVLJQ"

,DFWXDOO\0U6LWHVVKRZHGPHWKHOHWWHUZKLFK

<RXJRWLWDQG,KDYHDFRS\RIWKDWDQGZH
OOKDYH0U6LWHVWDONDERXWWKDWDQGRWKHUV2ND\
DQ\WKLQJHOVH\RX
GOLNHWRDGG

7KDW
VLW

2ND\WKDQN\RX

2ND\QH[WXS,
GOLNHWRFDOO&DUOD3DWHH

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2ND\&DUODMXVWJRDKHDGDQG\RXFDQDOVRUHDG\RXUZULWWHQVWDWHPHQWRUPDNHRWKHUFRPPHQWV
ZKLFKHYHU\RXZRXOGOLNH

2ND\RQ0RQGD\'HFHPEHUWK0U/\OH9DQ1DKPHQHQWHUHGP\RIILFHDVNHGWRVSHDNZLWK'U
1ROWH'U1ROWHDWWKDWWLPHZDVLQDPHHWLQJLQKLVRIILFHDQGQRWDYDLODEOH0U9DQ1DKPHQVDLG
WKDWKHQHHGHG

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WRUXQEDFNXSVWDLUVDQGZRXOGEHEDFN+HUHWXUQHGODWHUDQGZDLWHGRQ'U1ROWH'U1ROWHPHW
0U9DQ1DKPHQLQWKHSUHVLGHQW
VRIILFHZLWKWKHGRRUFORVHG7KHSUHVLGHQW
VGRRURSHQHGODWHU
DQG'U9DQH[FXVHPH0U9DQ1DKPHQOHIW'U1ROWHZDVQRWLFHDEO\VKDNHQDQGLPPHGLDWHO\
ZHQWWRILQG0U7KRPDV%RWKZHUH

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LQP\RIILFHDQG'U1ROWHUHOD\HGKLVLQIRUPDWLRQWRERWKRIXV

2ND\DQ\WKLQJHOVH\RX
GOLNHWRDGGDQ\KHDULQJPHPEHUSDQHOVKDYHDQ\TXHVWLRQV"2ND\WKDQN
\RX

1H[WXS0U6WHYHQ6LWHVDQG,WKLQN\RXKDYHDLQFLGHQWUHSRUWWRUHDGLQWRWKHUHFRUGDQGWKHQ\RX
FDQDGGDQ\WKLQJ

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HOVHWKDW\RXZRXOGOLNHWRDGGDV\RXJR




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2ND\7KLVLVJRQQDEHP\LQFLGHQWUHSRUWFDVHQR<RXZDQWPHWRJRDKHDGDQGMXVWUHDG
RIIP\UHSRUW"2Q,ZDVWDONLQJZLWKVHFXULW\GLUHFWRU-RVK7KRPSVRQ+HZDVWHOOLQJPH
DERXWDJHQWOHPDQE\WKHQDPHRI/\OH9DQ1DKPHQZKRZHQWLQWR'U1ROWH
VRIILFHDQGHLWKHU

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SXOOHG GRZQ KLV ZLQGRZ EOLQGV RU DWWHPSWHG WR SXOO GRZQ WKH ZLQGRZ EOLQGV  )URP ZKDW ,
XQGHUVWDQGLVWKDW9DQ1DKPHQZDVWU\LQJWRJHW'U1ROWHWRUHVLJQ2Q,ZDVWDONLQJWR
6KDURQ&DPSEHOOZKHQ,QRWLFHG9DQ1DKPHQZDONLQWRWKHVWXGHQWXQLRQ+HORRNHGOLNHKHZDV
ORVW$VVRRQDV,QRWLFHGKLP,ZHQWGRZQWR'U1ROWH
VRIILFHWROHWKLPNQRZKHZDVLQWKH
EXLOGLQJ:KHQ,ZHQWEDFNXSVWDLUV,QRWLFHG9DQ1DKPHQZDVWDONLQJZLWKRQHRIWKHDGPLVVLRQ
UHSVDVNLQJIRUDSLHFHRISDSHU

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DQGSHQ2QFHKHKDGWKHSDSHUDQGVRPHWKLQJWRZULWHZLWKKHVWDUWHGWRORRNIRUVRPHZKHUHWR
ZULWH6WHSKDQLH/DQQLQJPDGHFRQWDFWZLWK9DQ1DKPHQWROGKLPKHFRXOGXVHWKHFRQIHUHQFH
URRPWRZULWH,ZDVVWDQGLQJZLWK6WHSKDQLH/DQQLQJZKHQ9DQ1DKPHQZDVILQLVKHGZULWLQJRQ
WKHSDSHUKHZDVZDQWLQJWRJRWRWKHSUHVLGHQW
VRIILFH,WKHQWROG9DQ1DKPHQWKDWWKHSUHVLGHQW
ZDVSUHWW\EXV\EXW,ZRXOGJRGRZQVWDLUVZLWKKLP:HZHQWGRZQWRWKHSUHVLGHQW
VRIILFH,KDG
9DQ1DKPHQZDLWRXWVLGHZKLOH,ZHQWVHHLIWKHSUHVLGHQWZDVDEOHWRVSHDNZLWKKLP'U1ROWH
ZDVEXV\VR,WRRN

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9DQ1DKPHQWRWKHFRQIHUHQFHURRPDVNHGKLPZKDWZDVXS+HH[SODLQHGWRPHWKDWKHZDVQRW
KDSS\ZLWKZKDWWKHSUHVLGHQWZDVGRLQJDQGZDVZDQWLQJKLPWRUHVLJQ,WKHQDVNHGKLPLI,FRXOG
JLYHWKHSUHVLGHQWKLVOHWWHUDQGKHVWDWHG,FRXOGEXWKHZDQWHGFRSLHVRILWDQG,ZDVWREHDZLWQHVV
,WKHQH[SODLQHGWRKLPWKDWLWFRXOGEHDZKLOHEHIRUHWKHSUHVLGHQWZDVIUHHDQG,RIIHUHGWRFDOOKLP
LIWKHSUHVLGHQWFRXOGWRILWKLPLQWRWDON9DQ1DKPHQVWDWHGWKDWWKDWZRXOGEHILQH,ZDVDEOHWR
JLYHWKHSUHVLGHQWWKHOHWWHUDQGFRQILUPHGKHZDVJRQQDEHEXV\DOOGD\

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2Q,
PQRWLFLQJVRPHRIRXUGDWHVDUHRIIDOLWWOHELWVR,ZDVDVNHGE\GRFRUGLUHFWRU
7KRPSVRQDQG%HY7HPDDWWRJLYHDWUHVSDVVOHWWHUWR9DQ1DKPHQ,ZDVDEOHWR

([FXVHPHWKDWZDVWKHILUVWGD\\RXZHUHDVNHGWRGHOLYHU7KDW
VRND\WKHUHZDVMXVWDGHOD\
LQGHOLYHULQJLW

,ZDVDEOHWRPDNHFRQWDFWZLWK9DQ1DKPHQYLDSKRQHDQGDVNHGLIDVNHGKLPLIKHZDVVWLOOLQ
'RGJH&LW\

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+HVWDWHGKHZDVQRWDQGZDQWHGWRNQRZZKDWZDVJRLQJRQ,WROGKLP,KDGDOHWWHUWKDW,QHHGHG



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WRJHWWRKLPDQGKHPDGHWKHFRPPHQWZHOO,PXVWEHLQWURXEOH,DVNHGKLPLIKH
GSOHDVHFDOO
PHDQGOHWPHNQRZZKHQKHZRXOGEHEDFNXSWRWKHFROOHJH9DQ1DKPHQVWDWHGKHZRXOG,
FDOOHGDQGWDONHGWR%HYDQGVKHVWDWHGVKHZDQWHGPHWRJRWR6SHDUYLOOHDQGJLYHKLPWKHOHWWHUDW
KLVKRXVH,DQG%UDQGRQ2OLYHZHUHRQRXUZD\RYHUWR6SHDUYLOOHZKHQ,QRWLFHGDEOXHSDVVHQJHU
FDUSDVVXVWKHGULYHUORRNHGOLNH9DQ1DKPHQ,WKHQ

                                               

WULHGWRFDOO9DQ1DKPHQEDFNWRVHHLIKHZDVVWLOODWKRPHDQGKHGLGQRWDQVZHUZHGLGQRWJHW
DQDQVZHU:HWXUQHGDURXQGDQGKHDGHGEDFNWRZDUGVWKHFROOHJH:HZHUHDEOHWRFDWFKXSWR
WKHEOXHSDVVHQJHUFDURQFHLWSXOOHGLQWRWKHFROOHJHQRUWKSDUNLQJORW,QRWLFHG9DQ1DKPHQJHW
RXWRIWKHFDU:HPDGHFRQWDFWZLWK9DQ1DKPHQDQGJDYHKLPWKHOHWWHUKHUHDGWKHOHWWHUDQG
MXVWORRNHGDWXV,DVNHGKLPLIKHZRXOGVLJQWKHRWKHUFRS\MXVWWRVKRZZHKDQGGHOLYHUHGLWWR
KLPDQGKHVWDWHGKHGLGQRWZDQWWR,WROGKLPWKDWZDVILQH

                                               

DQGZHZRXOGMXVWZULWHUHIXVHGRQLW9DQ1DKPHQGLGLQIDFWZULWHUHIXVHGRQLWSOXVVRPHRWKHU
VWXIIVHHWKHOHWWHUDORQJZLWKDVNLQJIRU6WHSKDQLH/DQQLQJWRUHVLJQDOVR9DQ1DKPHQDVNHGXV
WRJLYHWR6WHSKDQLH/DQQLQJVWDUWHGWRZDONWRZDUGVWKHPDWKVFLHQFHEXLOGLQJ,WKHQKDGWRDVN
9DQ1DKPHQLIKHUHDGZKDWZDVLQWKHOHWWHUDQGUHPLQGHGKLPKHZDVRQO\DOORZHGWREHRQ
FDPSXVWRDWWHQGFODVVDQGWDNHKLVILQDODQGKHKDGDERXWDQKRXUDQGDKDOIEHIRUHWKHFODVVZDV
WRVWDUW9DQ1DKPHQJRWEDFN

                                               

LQKLVFDUDQGOHIW

2ND\DQGGLG\RXHYHUVHHDFRS\RIWKHUHVLJQDWLRQOHWWHUWKDWKHKDGGUDIWHGRXWZKHQKHZDVLQ
VWXGHQWVHUYLFHV"

,UHPHPEHUJODQFLQJDWLWZDVQ
WSULRUWR

'RHVWKDWORRNOLNHLW"

<HVWKDW
VLW

2ND\0U9DQ1DKPHQ,MXVWZDQWHGWR

                                               

GRXEOHFKHFNLVWKDWWKHUHVLJQDWLRQOHWWHUWKDW\RXGUDIWHG"

<HVLWLV

,
PVRUU\,GLGQ
WKHDU



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<HVLWLV

2ND\WKDQN\RX2ND\LVWKHUHDQ\WKLQJHOVHWKDW\RXZRXOGOLNHWRDGG"

7KDW
VLW

'RHVDQ\RQHRQWKHSDQHOKDYHTXHVWLRQVIRU6WHYHQ6LWHV"

                                                  

2ND\DQGZHGLGQRWHIRUWKHUHFRUGWKDW\RX
UHVHUYLQJDV\RXUFDSDFLW\LQ\RXUSDUWWLPHSRVLWLRQ
IRU'RGJH&LW\&RPPXQLW\&ROOHJHVHFXULW\RIILFHUVHFXULW\FRRUGLQDWRULVWKDW\RXUWLWOH"

<HVPD
DP

,DSSUHFLDWH\RXUXVKLQJWRJHWKHUHRQWLPHFDXVH,NQRZ\RXMXVWFDPHRIIGXW\ZLWK\RXURWKHU
HPSOR\PHQWRND\

<HVPD
DP

$OULJKWQH[WXSZLOOEH-RVK7KRPSVRQVHFXULW\GLUHFWRU

                                                  

*RDKHDGDQGUHDG\RXULQIRUPDWLRQLQWRWKHUHFRUG

2Q'HFHPEHUWKDWDSSUR[LPDWHO\KRXUV,-RVK7KRPSVRQGLUHFWRURIVHFXULW\IRUWKH
'RGJH&LW\&RPPXQLW\&ROOHJHZDVPDGHDZDUHE\WHOHSKRQHWKDW/\OH9DQ1DKPHQKDGUHWXUQHG
WR WKH VWXGHQW XQLRQ  %HY 7HPDDW LQIRUPHG PH WKDW WKH VHFXULW\ FRRUGLQDWRU 6WHYHQ 6LWHV KDG
LQWHUFHSWHG 0U 9DQ1DKPHQ ZKR ZDV DWWHPSWLQJ WR PHHW ZLWK FROOHJH SUHVLGHQW 'U 1ROWH WR
GHPDQGKLVUHVLJQDWLRQIRUDVHFRQGWLPH$IWHUWKLVLQFLGHQW,LQVWDOOHGQHZSURFHGXUHVWRSURWHFW
'U1ROWHXQWLO0U9DQ1DKPHQZDVLVVXHGKLVOHWWHURIFULPLQDOWUHVSDVV


                                                  

IURPWKHFROOHJH7KHSURFHGXUHVWKDWFKDQJHGZHUHDVIROORZV,PRYHGP\GHVNIURPWKHUHVOLIH
PDLQWHQDQFHEXLOGLQJWRWKHOREE\RI'U1ROWH
VRIILFH$VHFXULW\YHKLFOHZDVDWDOOWLPHVSDUNHG
RXWVLGHRI'U1ROWH
VRIILFHWRPDLQWDLQDYLVXDOSUHVHQFH$ORFNGRZQSURFHGXUHLVLQSODFHLI0U
9DQ1DKPHQLVVHHQRQFDPSXVWRSURWHFW'U1ROWH7KHORFNGRZQSURFHGXUHVDUHORFNLQJWKH
OREE\GRRUDQGWKHHQWU\GRRUWR'U1ROWH
VRIILFH3ODFLQJDVHFXULW\RIILFHUDW'U1ROWH
VRIILFH
6HQGLQJWKHUHPDLQLQJVHFXULW\SHUVRQQHO

                                                  

RXWWRILQGDQGUHPRYH0U9DQ1DKPHQIURPWKHFDPSXVLIKHZDVLQYLRODWLRQRIKLVFULPLQDO



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WUHVSDVVQRWLILFDWLRQ

2ND\LVWKHUHDQ\WKLQJHOVH\RXZRXOGOLNHWRDGG"

1R

$Q\TXHVWLRQVIRUVHFXULW\GLUHFWRU-RVK7KRPSVRQ"2ND\KHDULQJQRQHWKDQN\RX

2ND\0U9DQ1DKPHQ,KDGVSRNHQZLWK\RXHDUOLHUDERXWWKHWKUHHUHDOO\WKH

                                                

SDUWVRIWKHKHDULQJDQG,WROG\RXWKDWWKHUHZDVRQHRIWKHPWKDW,FRQVLGHUHGWREHWKHPRVW
LPSRUWDQWDQGWKDW
VWKHSDUWRIWKHKHDULQJZKHUH\RXKDYHDQRSSRUWXQLW\WRWHOO\RXUVLGHRIWKH
VWRU\DQG\RXKDYHDQRSSRUWXQLW\WRDVNTXHVWLRQVRIWKHZLWQHVVHVWKDWKDYHSURYLGHGHYLGHQFH
DQGWKDW

EDFNJURXQGQRLVH

$EVROXWHO\2ND\ZH
OOVWRSWKHKHDULQJDWSPJRDKHDG

                                                

$OULJKWLW
VSPDQGZH
UHUHVXPLQJWKHKHDULQJIRU/\OH9DQ1DKPHQZHKDGWDNHQDEUHDNDW
WKHUHTXHVWRI0U9DQ1DKPHQVRWKDWKHFRXOGFRQIHUZLWKKLVDGYLVRU0U3HWHU$QWRVK2ND\DV
,KDGVDLGEHIRUH/\OHWKLVLVWKHPRVWLPSRUWDQWSDUWRIWKHKHDULQJ\RXURSSRUWXQLW\WR

                                                

WHOOWKLVKHDULQJSDQHO\RXUVLGHRIWKHVWRU\ZKDW\RXWKLQNLVLPSRUWDQWIRUWKHPWRNQRZDVWKH\
PDNHDILQDOGHFLVLRQUHODWHGWR\RXUVWDWXVDVDVWXGHQWVRLWLVYHU\LPSRUWDQW6RJRDKHDGDQGWDNH
DVORQJDV\RXZRXOGOLNH

:HOO,KDGVRPHTXHVWLRQV,JXHVV

2ND\

6R,ZDVJRQQDDVNDTXHVWLRQRI+DUROGSUHVLGHQW+DUROG1ROWHWKHUH,JXHVV,ZDVJRQQDDVNZKDW
LV\RXUMREWLWOH"

2ND\\RXZDQWWRDVNKLP

                                                

TXHVWLRQVDVDZLWQHVV2ND\\RXZDQWWRFRPHEDFNXSKHUH




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,W
VSUHVLGHQWRI'RGJH&LW\&RPPXQLW\&ROOHJH

$QGDUH\RXGLUHFWO\RULQGLUHFWO\WKHERVVRIWKHSDQHOPHPEHUVWKDWDUHKHDULQJWKLVDFWLRQ"

<HV

<HV\RXRND\$UH\RXGLUHFWO\RULQGLUHFWO\WKHERVVRIWKHMXGLFLDORIILFHU%HYHUO\7HPDDW"

<HV

                                              

'R\RXDOOHJHWKDW,FXUVHGDW\RX"

3UHWW\VWURQJO\EXWQRWFXUVHG\RXGLGQ
WFXUVHEXW\RXZHUHYHU\VWURQJZLWK\RXUFRQYHUVDWLRQ
ZLWKPH

'R\RXDOOHJHWKDW,\HOOHGDW\RX"

<HV

'R\RXDOOHJHWKDW,SK\VLFDOO\DVVDXOWHG\RX"

1R

'R\RXDOOHJHWKDW,WKUHDWHQHG\RX"

<HV

'LG\RX

                                              

PDNHDZULWWHQVWDWHPHQWDERXWP\LQFLGHQW\RXKDGZLWKPH"

<HV

'LG,OHDYH\RXURIILFHSHDFHIXOO\"

8SVHWEXW\HV

,OHIWSHDFHIXOO\\HV

,KDYHVRPHTXHVWLRQVIRU&DUOD3DWHH

2ND\WKDQN\RX0U3UHVLGHQW



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1RSUREOHP

                                              

&DUODJRRGDIWHUQRRQ

+HOOR

+HOOR\HV\RXZHUHWKHVHFUHWDU\GRZQWKHUH\HV"

<HV

2ND\RND\$QGZKDWLV\RXUMREWLWOH"<RXDUHWKHVHFUHWDU\\HV,V\RXUMREGXWLHV

([HFXWLYHDVVLVWDQWWRWKHSUHVLGHQWERDUGFOHUNIUHHGRPLQIRUPDWLRQRIILFHU

,V3UHVLGHQW1ROWH\RXUERVV"

<HV

<HDKRND\GLG\RXEHOLHYHLWZRXOGEHEDG

                                              

IRU\RXUFDUHHULI\RXFRQWUDGLFWHGKLP"

1R

:KHQ,PHWZLWK3UHVLGHQW1ROWHLQKLVRIILFHGLG\RXKHDU\HOOLQJ"

,GRQ
WUHFDOOWKDW

2ND\RND\VRWKHQZKHQ,PHWZLWK3UHVLGHQW1ROWHLQKLVRIILFHGLG\RXKHDUPHFXUVHDQG\RXVDLG
\RXGLGQ
WVRWKDW
VLUUHOHYDQW

7KHGRRUZDVFORVHGVR

'LG,HQWHU3UHVLGHQW1ROWH
VRIILFHZLWKRXWSHUPLVVLRQ"

1RWKHGRRU

                                              

LVDOZD\VRSHQ

2ND\GLG,KDYHWREHHVFRUWHGRXWRI3UHVLGHQW1ROWH
VRIILFH"



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1R

2ND\WKDQNV

,VWKDWDOOIRUPH"

7KDQN\RX\HV$QGIRU\RX
UH.HLWK7KRPDVDSSDUHQWO\\RX
UH-RVK

2ND\.HLWK7KRPDVKH
VQRW

.HLWK7KRPDVLVRXWRIVWDWHDQG

+H
VQRWKHUHKH
VQRWDYDLODEOHQR

                                              

0U6LWHVRND\

:KDWLV\RXUMREWLWOH\RX

6HFXULW\FRRUGLQDWRU

2ND\:KDWDUH\RXUMREGXWLHV"

0\MREGXWLHVLVVHFXULQJWKHFDPSXVPDNLQJWKLQJVSHDFHIXOPDNLQJHYHU\WKLQJHYHU\ERG\
VDOULJKW

,V3UHVLGHQW1ROWH


                                              

\RXUERVV"

<HV

2ND\'R\RXEHOLHYHLWZRXOGEHEDGIRU\RXUFDUHHULI\RXFRQWUDGLFWHGKLP"

1R

:HUH\RXZRUNLQJDWZRUNLQJDW'&&'&&RQ'HFHPEHUWKHWKRI"

,FDQ
WUHPHPEHULI,ZDV

2ND\:KHQGLG\RXILUVWKHDUWKDWWKHUHPD\EHDQLQFLGHQWEHWZHHQPHDQG3UHVLGHQW1ROWHRQ
'HFHPEHUWKHWK"




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,EHOLHYHLWZDVRQWKHVHYHQWK

                                                 

RUP\GDWHVFRXOGEHZURQJ/\OH

:KDWGLG-RVK7KRPSVRQVD\WKDW,GLGRQ'HFHPEHUWKZKDWGLGKHVD\"

:HZHUHMXVWKDYLQJFRQYHUVDWLRQ,
YHUHDGWKDWLQLQWKHUHSRUWLW
VDOOLQWKHUHSRUWEXWLI\RX
GOLNH
PHWRUHDGLWDJDLQLWVDOOLQWKHUH

:KDW
V\RXUYHUVLRQRILW"

([DFWO\ZKDW,
YHSXWRQKHUH

:DV,UXGHWR\RX"

                                                 

<RX
YHQHYHUEHHQUXGHWRPH/\OH

'LG,PDNHDQ\WKUHDWHQLQJVWDWHPHQWV"

1RWWRPH

'LG\RXZLWQHVVPHEHKDYLQJLQDSSURSULDWHO\"

,PHDQH[SODLQWRPHZKDW\RXZDQW
$WWKHWLPHGR\RXWKLQN,GLGDQ\WKLQJLQDSSURSULDWH"

,WKRXJKWLWZDVZHLUGWKDW\RXZHUHZDQWLQJWKHUHVLJQDWLRQ7KHUH
VVWHSVWRWDNH,WKRXJKW\RX
KDQGOHGLWGLIIHUHQWWKDQZKDWD

                                                 

QRUPDOQRUPDOO\\RXZRXOGGRE\JRLQJWRWKHERDUG

'LG,FRPSO\ZLWKDOORIWKHUHTXHVWVWKDW\RXPDGHWRPH"

<RXVXUHGLG

'LG\RXDVNPHWROHDYHWKHVWXGHQWXQLRQQR\RXQHYHUDVNHGPH,JRWWKLV

<HDK,ZDVMXVWJRQQDVD\MXVWLQWKHSDUNLQJORW

<RXKDGUHTXHVWHGWKDW,OHIWDQG,GLGFRPSO\ULJKWDZD\,GLGZKDWHYHU



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                                                

\RXDVNHGULJKWDZD\WKDQN\RX

<HDK

7KDQN\RX

,
PJRQQDKDYHWROHDYHGR\RXKDYHDQ\WKLQJHOVH"

7KDQN\RX6RUU\,VWKHUHDQ\KHDULQJSDQHOWKDWKDYHDTXHVWLRQIRU2IILFHU6LWHV"2ND\2ND\
ZH
OOQRWHIRUWKHUHFRUGDWSP2IILFHU6LWHVKDGWROHDYHWKHKHDULQJ2ND\SOHDVHFRQWLQXH
/\OH

<RX
UH-RVK7KRPSVRQ\HVRND\

                                                

9HU\JRRGRND\:KDWLV\RXUMREWLWOH,JXHVV"

'LUHFWRURIVHFXULW\

'LUHFWRU\RX
UHWKHDQG\RXUMREGXWLHVDUH"

5XQWKHVHFXULW\GHSDUWPHQW

2ND\,VSUHVLGHQW1ROWH\RXUERVV"

7KDW
VFRUUHFW

'R\RXEHOLHYHWKDWLWLVEDGIRU\RXUFDUHHULI\RXFRQWUDGLFWHGKLP"

1R,GRQRW

:KDWLV\RXUXQGHUVWDQGLQJWKDW,GLGZURQJRQ'HFHPEHUWK"

<RXVFDUHGWKHSUHVLGHQW,

                                                

GLGQ
WKDYHDQ\GLUHFWGHDOLQJVZLWK\RXVR,FDQ
WVSHDNWRLW,W
VMXVWZKDW\RXWROGWKH

5LJKW:KHUHGLG\RXJHW\RXULQIRUPDWLRQDERXWZKDW,GLGRQ'HFHPEHUWKHWK"

,GRQ
WUHFDOO




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<RXGRQ
WUHFDOO

,WZDVRYHUWKHSKRQHEXW,GRQ
WUHPHPEHUZKR,JRWLWIURP

:KDWVHFXULW\SURFHGXUHVGLG\RXSXWLQSODFHWRSURWHFW"

                                               

'R\RXZDQWPHWRUHDGWKHPDJDLQ"

1R,JXHVVMXVWDVNLQJRIIWKHWRSRI\RXUKHDG

7KDW
VWKHRQHV,UHDG

:HUHWKHVHSURFHGXUHV\RXULGHD"

<HV

,JXHVV6WHSKDQLH/DQQLQJWKDW,KDYHQ
WDVNHG\RXWKDQNV:KDWLV\RXUMREWLWOH"

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,
PWKHGHDQRIVWXGHQWV

2ND\DQG\RXUMREZKDWDUH\RXUMREGXWLHV"

,RYHUVHHVWXGHQWVHUYLFHVUHVSRQVLELOLWLHVDGPLVVLRQVILQDQFLDODLGUHFRUGVDQGDWWKDWWLPHRIWKH
LQFLGHQW,ZDVRYHUKRXVLQJDQGVHFXULW\QRWVHFXULW\FRQGXFWVWXGHQWFRQGXFW

2ND\,V3UHVLGHQW1ROWH\RXUERVV"

<HV

'R\RXEHOLHYHLWZRXOGEHEDGIRU\RXUFDUHHULI\RX

                                               

FRQWUDGLFWHGKLP"

1R

<RXDQG,GLVFXVVWKHSRVVLEOHODQGVDOHRQ'HFHPEHUWK"

<HV

'LG,PDNHDQ\WKUHDWVGXULQJRXUFRQYHUVDWLRQ"



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1R

'LG\RXWHOOPH WKDW LI , ZDQWHGWRVSHDNWR3UHVLGHQW1ROWHDERXWLWWKDW,VKRXOGVFKHGXOHDQ
DSSRLQWPHQWZLWK&DUOD3DWHH"

<HV

:HUH\RXZHUH\RXFRQFHUQHGDWWKDWWLPHWKDW,ZDV

                                              

WKDWLI,VHWDPHHWLQJZLWK3UHVLGHQW1ROWHWKDW,ZDVJRLQJWREHKDYHLQDSSURSULDWHO\WKHUH"

1R

6R\RXGLGQ
WNQRZ"

2Q'HFHPEHUWK0RQGD\'HFHPEHUWKQR

:KHQ ZHUH \RX LQIRUPHG WKDW , KDG UHTXHVWHG 3UHVLGHQW 1ROWH UHVLJQ LPPHGLDWHO\ IRU KLV
LQYROYHPHQWLQWKHODQGVDOH"

                                              

,ZDVQRWLILHGRQ)ULGD\'HFHPEHUWKDWDPE\%HYHUO\7HPDDWYLFHSUHVLGHQWRIVWXGHQWDIIDLUV

:KDWGDWHZDVWKDWDJDLQ"

)ULGD\'HFHPEHUWK

WKRND\

$WDP

2ND\

:KRQRWLILHG\RX%HY"

%HY\HDK%HY7HPDDW

:HUH\RXGLUHFWHGWRWDNHDQ\DFWLRQDJDLQVWPHDWWKDWWLPH"

$VWKHGHDQRIVWXGHQWV

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EDVHGRQWKHEHKDYLRUPLVFRQGXFWWKDW,KDGKHDUGDERXW,WHPSRUDULO\WUHVSDVVHG\RXFDPSXVZLGH
DVP\UHVSRQVLELOLW\DVWKHGHDQRIVWXGHQWV

:KDWGD\DUH\RXVD\LQJWKDWZDV"

0\DFWLRQV,VWDUWHGP\DFWLRQVDWWKDWWLPH,ZURWHWKHOHWWHUDQGWKHOHWWHUZDVWREHGHOLYHUHGWR
\RXRQ'HFHPEHUWK

%XW,JRWLWRQWKHWK

&RUUHFW

<HV,JRWLWRQWKHWK

6RSURFHGXUHVZKHQDIWHUWKHGHDQRIVWXGHQWVLV,ZULWHWKHOHWWHU

                                                  

,GHOLYHULWWRVHFXULW\WRGHOLYHUWRWKHVWXGHQWV

2ND\,WDONHGWR\RXRQWKHWKWKDWGD\ULJKW\HV\RXDQG,YLVLWHGRQWKHWK\RXDQG,FDPHLQWR
\RXURIILFHDQGYLVLWHGZLWK\RXRQWKHWKWKDWDIWHUQRRQFRUUHFW"

,GRQ
WUHFDOOWKDWPHHWLQJ

,GLG\RXVD\\RXZURWHRQ)ULGD\WKHWKDQG\RXDQG,YLVLWHGRQWKHWKLQ\RXURIILFHWKDW
0RQGD\DQGWKHQ6LWHVJLYHLWWRPHPLQXWHVODWHU

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,GRQ
WUHFDOOWKDWPHHWLQJ

2ND\\RXDQG,YLVLWHGWKDQN\RX:KDWLQYHVWLJDWLRQGLG\RXXQGHUWDNHEHIRUHLVVXLQJWKHWUHVSDVV
RUGHUDJDLQVWPH"

,VDZDFRS\RIWKHOHWWHUZKHUH\RXUHTXHVWHG'U1ROWH
VUHVLJQDWLRQDQG,DOVRZDVYHUEDOO\WROG
RIWKHFRPPXQLFDWLRQWKDW\RXKDGZLWK'U1ROWHRQWKDW0RQGD\

                                                  

'LG\RXVSHDNGLUHFWO\ZLWK'U1ROWHDERXWWKHVLWXDWLRQEHIRUHLVVXLQJWKHWUHVSDVVRUGHU"

<HV

2ND\FDQ,DVN\RXZK\\RXGLGQ
WVD\DQ\WKLQJWRPHRQ0RQGD\ZKHQ,VDWDQGYLVLWHGZLWK\RX
WKDWGD\"



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%HFDXVH,GLGQ
WNQRZLILWKDGEHHQGHOLYHUHGRUQRWDQG\RXGLGQ
WVWDWHDQ\WKLQJDQG,GLGQ
WKDYH
WKHRIILFLDOOHWWHUVLQIURQWRIPHEHFDXVHWKH\ZHUHLQWKHSRVVHVVLRQRIVHFXULW\

                                                    

WRGHOLYHUWKHPWR\RXDQG,GRQ
WUHFDOOWKLVPHHWLQJWKDWZHKDG

2QWKHWK0RQGD\<HVWKDWZDVULJKWEHIRUHWKHERDUGPHHWLQJFRUUHFW,DVNHG\RXDERXWWKH
ERDUGPHHWLQJRQ0RQGD\,ZDONHGLQDQG\RXVDLG\RX
GUHPRYHGWKHERDUGPHHWLQJIURP7XHVGD\
WR0RQGD\RQWKDW0RQGD\DQG\RXDQG,VDWDQGYLVLWHGDQG\RXWROGPHWZLFHWKDWWKHERDUG
PHHWLQJKDGEHHQPRYHGIURP7XHVGD\WR0RQGD\WKDWHYHQLQJLWZDVDERXWZKHQ,YLVLWHG
ZLWK\RX

2ND\,GRQ
WUHFDOOWKDWPHHWLQJ

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6RUU\

:HOOLWZDVDQLFHYLVLW\RX
UHYHU\QLFHWRYLVLWZLWKWKDQN\RXYHU\ZHOO\RXGRILQH,DSRORJL]HLI
,FDXVHG\RXDQ\SUREOHPDQGXQGHUZKDWDXWKRULW\GLG\RXLVVXHWKHWUHVSDVVRUGHU"

$VWKHGHDQRIVWXGHQWVDQGDVP\MREUHVSRQVLELOLWLHVDWWKHWLPHDQGDOVRZULWWHQLQWKHVWXGHQW
KDQGERRNLWZDVP\UHVSRQVLELOLW\DVWKHGHDQRIVWXGHQWVWRDXWKRUL]H

2ND\,
GDSSUHFLDWHLWLI\RXKDGYHUEDOO\WROGPHVRPHWKLQJDWWKHWLPH,ZLOO

                                                    

VD\WKDW,ZLVK\RXKDGRUVRPHWKLQJ,WKLQN\RXZRXOGKDYHEHHQYHU\DSSURSULDWH

2ND\

7KDQN\RXYHU\QLFHWKDQN\RXWKDQNV

2ND\WKDQN\RX/\OHLVWKHUHDQ\RQHHOVHWKDW\RXZRXOGOLNHWRDVNDTXHVWLRQ"

1R

<RXWKLQNWKDWJRWWKURXJKWKHPDOO7KDQN\RX2ND\DQGWKHIORRULVVWLOO\RXUVLI\RX
G

                                                    

OLNH WR PDNH D VWDWHPHQW RU DQ\WKLQJ \RX WKLQN LV LPSRUWDQW WR SRLQW RXW IRU WKH KHDULQJ SDQHO
PHPEHUVWRFRQVLGHU




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,
PJRRG%HY

2ND\DQG,DSSUHFLDWH\RXUFRRSHUDWLRQ

7KDQN\RX7KDQN\RX

7KDQN\RX

,VWKHUHDQ\WKLQJWKDWWKHKHDULQJSDQHOPHPEHUVZRXOGOLNHWRDVNDWWKLVWLPH"

,ZRXOG&DQ\RXWHOOXVDOLWWOHELWPRUHDERXWWKHLQFLGHQWOLNHIURP\RXURZQSHUVSHFWLYH"
%HFDXVH\RXZHUHWDONLQJDQGDOOWKDWOLNH,
PJHWWLQJDSLFWXUHRIZKDW\RXZHUHH[SHULHQFLQJDWWKH
WLPHEXW\RXGLGQ
WUHDOO\VD\OLNHZKDWNLQGRIZRUGDJHGLG\RXXVHZLWK3UHVLGHQW1ROWH\RXDVNHG

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KLPDERXWKRZKHSHUFHLYHGRIWKHLQWHUDFWLRQVVRLI\RXZRXOGQ
WPLQGNLQGRIGHVFULELQJWKH
LQWHUDFWLRQWRPHIURPZKLOH\RXZHUHH[SHULHQFLQJLWGRHVWKDWPDNHVHQVH"

,XQGHUVWDQGZKDW\RX
UHVD\LQJDQG,
PJRQQDUHDGWKLVVWDWHPHQWDWWKLVWLPH

,DPH[HUFLVLQJP\ULJKWWRQRWDQVZHUTXHVWLRQV$FFRUGLQJWRWKHVWXGHQWKDQGERRNWKHVWXGHQW
FKDUJHGPD\EHTXHVWLRQHGRQO\LIWHVWLI\LQJLQKLVRUKHURZQEHKDOIH[DPLQDWLRQRIZLWQHVVHVE\
WKHSHUVRQFKDUJHGGRHVQRWFRQVWLWXWHWHVWLPRQ\

                                              

RQRQH
VRZQEHKDOI,ZLOOQRWEHWHVWLI\LQJLQP\RZQEHKDOIDOWKRXJK,
GOLNHWRPDNHDQRQ
WHVWLPRQLDOFORVLQJVWDWHPHQW

2ND\DOULJKWVRDUH\RXUHDG\RUFRPIRUWDEOHPDNLQJ\RXUVWDWHPHQWDWWKLVSRLQWRUGR\RXZDQWWR
FRQIHUZLWK\RXUDGYLVHURUDQ\WKLQJOLNHWKDW"3OHDVHSURFHHG

2ND\P\FORVLQJVWDWHPHQWLV,KDYHDQXPEHURISRLQWVWKDW,
GOLNHWRPDNH

                                              

,GRQRWEHOLHYHWKLVWULEXQDOFDQLPSDUWLDOO\FRQGXFWWKLVKHDULQJEHFDXVHHYHU\RQHKHUHLVEHKROGHQ
WR3UHVLGHQW1ROWHWKHFKLHIFRPSODLQDQWDJDLQVWPH0\XQGHUVWDQGLQJLVWKDW,ZDVSUHMXGJHG
JXLOW\RIPLVFRQGXFWDQGWKHSXUSRVHRIWRGD\
VKHDULQJLVWRPLWLJDWHSXQLVKPHQW*RLQJLQWRWKLV
KHDULQJ,KDYHQRWEHHQPDGHDZDUHRIZKDWW\SHRISXQLVKPHQW,DPOLNHO\WRIDFHLI,DPIRXQG
JXLOW\RIPLVFRQGXFW,KDYHQRWEHHQSHUPLWWHGWRKDYHPHPEHUVRIWKHSXEOLFKHUHHYHQWKRXJK



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,KDYHWKURXJKP\DWWRUQH\

                                                 

UHTXHVWHG WKDW WKLV KHDULQJ EHHQ RSHQ WR WKH SXEOLF  0\ DWWRUQH\ KDV QRW EHHQ SHUPLWWHG WR
SDUWLFLSDWHLQP\KHDULQJ,KDYHQRWEHHQSURYLGHGDFOHDUVWDWHPHQWRIZKDW,DPDFFXVHGRIGRLQJ
ZURQJ,H[SUHVVHGP\VHOISHDFHIXOO\ZKLFKLVP\FRQVWLWXWLRQDOULJKWDQG,KDYHEHHQSHQDOL]HG
IRUGRLQJVR

2ND\DFRXSOHRISRLQWVWKDW,ZRXOGOLNHWRPDNHWKDWDUHSUHYDOHQWLQRXU

                                                 

FRGHRIFRQGXFWDUHRQSDJHXQGHUWKHZRUGUHFRUGWKHUHLVDQRWKHUKHDGLQJWKDWVD\VFORVHG
KHDULQJWKHFROOHJHUHVHUYHVWKHULJKWWRFORVHFRQGXFWUHYLHZKHDULQJVWRDQ\RQHRWKHUWKDQSHUVRQV
DSSURYHGE\WKHMXGLFLDOKHDULQJERDUGVRZHGLGH[HUFLVHWKDWZLWKLQWKHFRGHRIFRQGXFWDQGWKDW
V
ZK\WKHKHDULQJLVFORVHG$QGMXVWVR\RXNQRZ,
PQHYHUDZDUHRIDFRQGXFWUHYLHZKHDULQJWKDW
KDVRFFXUUHGRQWKLVFDPSXV

                                                 

WKDWKDVEHHQRSHQWRWKHSXEOLF,GRQ
WWKLQNWKDW
VHYHURFFXUUHGDQGLWLVVWDQGDUGSUDFWLFHRQD
FROOHJHFDPSXVWKDWFRQGXFWKHDULQJVDUHW\SLFDOO\FORVHGVR,ZDVJRLQJWRPDNHWKDWQRWH$QG
WKHRWKHUWKLQJWKDW,ZDQWHGWROHW\RXNQRZLVWKDWLQWKHFRGHRIFRQGXFWWKHUHLVDZKROHUDQJHDQG
SDUDPHWHURIVDQFWLRQV

                                                 

WKDWFDQEHLVVXHGRQHLWKHUDWHPSRUDU\EDVLVRUDSHUPDQHQWEDVLVDQGWKRVHDUHDOORXWOLQHGLQWKH
FRGHRIFRQGXFW6RLI\RX
UHZRQGHULQJZKDWSRVVLEOHVDQFWLRQVFRXOGEHLQVWDWHGRQDSHUPDQHQW
EDVLVWKH\DUHRXWOLQHGWKURXJKRXWWKHFRGHRIFRQGXFWDQG\RXGRKDYHDFRS\FRUUHFW"<RXKDYH
DFRS\RIWKHFRGHRIFRQGXFW"

,KDYHDKDQGERRN

<HVWKHFRGHRIFRQGXFWLVLQWKHKDQGERRN

                                                 

DQGLWEHJLQVRQSDJHDQGWKHVDQFWLRQVDUHOLVWHGZLWKLQWKDW2ND\DQ\WKLQJHOVHWKDW\RXZRXOG
OLNHWRDGG"2ND\WKHQH[WSKDVHLVWKHKHDULQJSDQHOZLOOJRLQWRGHOLEHUDWLRQVDQGWKHGHOLEHUDWLRQV
DUHFORVHGDQGZH
OOWU\WRKDYHDGHFLVLRQRQWKHLUSDUW,FDQ
WWHOO\RXH[DFWO\KRZORQJLWZLOOWDNH
EXWZH
OOWU\WRGRLWDVTXLFNO\DV

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SRVVLEOHDQGWKHLUGHFLVLRQVZLOOEHFRPPXQLFDWHGWR\RXLQZULWLQJVR\RX
OOJHWDZULWWHQOHWWHUWKDW
PRVWOLNHO\ZLOOEHSUHVHQWHGWR0U$QWRVKVRWKDWKHFDQVKDUHWKDWZLWK\RXRND\"$OULJKW
DQ\RQHHOVHKDYHDQ\WKLQJWKDWWKH\ZRXOGOLNHWRVD\"

+HDULQJGRQHZHZLOOHQGWKHKHDULQJDWSP7KDQN\RXDOO




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 1       A   That was not true, though.                                     03:45PM

 2       Q   Didn't ask you that.                                           03:45PM

 3       A   Okay.   Well --                                                03:45PM

 4       Q   You understood going into the hearing that the                 03:45PM

 5           purpose was to find out if that was true.          The board   03:45PM

 6           was going to hear the evidence and determine whether           03:45PM

 7           it was true; correct?                                          03:45PM

 8                       That was the purpose of the hearing,               03:45PM

 9           wasn't it?                                                     03:45PM

10       A   The purpose of the hearing --                                  03:45PM

11       Q   Was to hear the evidence on what your conduct was or           03:46PM

12           was not on December 5th and December 8th of 2016;              03:46PM

13           correct?                                                       03:46PM

14       A   To hear the evidence, yes.                                     03:46PM

15       Q   All right.    And you knew that some of that evidence          03:46PM

16           was going to be what's contained in Exhibit 7;                 03:46PM

17           correct?                                                       03:46PM

18       A   But you're calling it evidence, but it's not really            03:46PM

19           evidence.    It's just fabricated.    Okay.                    03:46PM

20       Q   You knew, sir, that some of the evidence that was              03:46PM

21           going to be presented at the hearing --                        03:46PM

22       A   Yes.                                                           03:46PM

23       Q   -- was going to be Exhibit 7?                                  03:46PM

24       A   Yes.                                                           03:46PM

25       Q   And the testimony of those witnesses; correct?                 03:46PM

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 1       A   Could be, yes.                                            03:46PM

 2       Q   All right.   Did you know who the panel members were      03:46PM

 3           before the hearing?    Did you get a list of them?        03:47PM

 4       A   No, I didn't.                                             03:47PM

 5       Q   You know if your attorney did?                            03:47PM

 6       A   I don't know.                                             03:47PM

 7       Q   When you walked into the hearing panel, did you           03:47PM

 8           recognize any of the people in the room, besides          03:47PM

 9           your wife and your attorney?                              03:47PM

10       A   I recognized Bev.   She was there.                        03:47PM

11       Q   Okay.   Anyone else that you recognized?                  03:47PM

12       A   Bev ran the hearing.    I recognized her.                 03:47PM

13       Q   Anyone else that you recognized?      Did you recognize   03:47PM

14           any of the panel members?                                 03:47PM

15       A   No.                                                       03:47PM

16       Q   How many were there?                                      03:47PM

17       A   Three, it seems.                                          03:47PM

18       Q   Do you know who Margarita Morales is?                     03:47PM

19       A   Do I know who she is?                                     03:47PM

20       Q   Yeah.                                                     03:47PM

21       A   No.                                                       03:47PM

22       Q   Do you know where she works?                              03:47PM

23       A   No.                                                       03:47PM

24       Q   Do you know who her supervisors are?                      03:47PM

25       A   No.                                                       03:48PM

                                     9HULWH[W/HJDO6ROXWLRQV
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 1       A   I have reservations about it.                              03:52PM

 2       Q   Do you have any -- what are your facts?       What facts   03:52PM

 3           do you have that indicate any of these panel members       03:52PM

 4           or the reviewing administrator were not impartial          03:52PM

 5           other than the fact that they were all employed by         03:53PM

 6           the college?                                               03:53PM

 7       A   You're saying the president is not their boss?             03:53PM

 8       Q   I'm not saying anything.    I'm asking a very simple       03:53PM

 9           question.                                                  03:53PM

10       A   Well, I asked you --                                       03:53PM

11       Q   My question is very simple.     I understand from your     03:53PM

12           lawsuit that you allege that these people could not        03:53PM

13           be impartial because they were employed by the             03:53PM

14           college and the president of the college was -- was        03:53PM

15           the chief witness.    I got that.                          03:53PM

16                       I'm just trying to find out if there's any     03:53PM

17           other reason you think these people were impartial.        03:53PM

18           I just need to know what your claim is.       I'm not      03:53PM

19           suggesting there is anything else.      I'm not            03:53PM

20           suggesting that what you said isn't sufficient.            03:53PM

21                       I'm just trying to find out if you've got      03:53PM

22           any other evidence that the panel members or the           03:53PM

23           reviewing administrator were not impartial, other          03:53PM

24           than the fact that they work for the college?              03:53PM

25       A   Well, I explained to you I don't know those people         03:53PM

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 1           personally or what their situations are or anything,       03:54PM

 2           but --                                                     03:54PM

 3       Q   So the answer is no?                                       03:54PM

 4       A   I'm not going to say no.                                   03:54PM

 5       Q   So is your answer yes?                                     03:54PM

 6       A   I'm not going to say yes.                                  03:54PM

 7       Q   It's got to be one of the two.                             03:54PM

 8                       MR. GLENDENNING:     If you want to step in    03:54PM

 9           and stipulate at any time, Mr. Antosh, I'll be happy       03:54PM

10           to take a stipulation that there's no other basis.         03:54PM

11                       MR. ANTOSH:    We stipulate there's no other   03:54PM

12           basis.                                                     03:54PM

13                       MR. GLENDENNING:     Very good.                03:54PM

14       Q   (BY MR. GLENDENNING)      Were you prepared to examine     03:54PM

15           these witnesses in getting ready for the hearing?          03:54PM

16       A   Do I get to?                                               03:54PM

17       Q   Did you?                                                   03:54PM

18       A   What?                                                      03:54PM

19       Q   Did you prepare to examine the witnesses at the            03:54PM

20           hearing?                                                   03:54PM

21       A   My understanding is they needed to prove I did             03:54PM

22           something wrong.                                           03:55PM

23                       MR. ANTOSH:    How about --                    03:55PM

24       Q   (BY MR. GLENDENNING)      That doesn't answer my           03:55PM

25           question.                                                  03:55PM

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